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                         EXHIBIT B
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  El Honorable Brian M. Cogan
  Juez de Distrito de los Estado Unidos
  Palacio de Justicia de los Estado Unidos
  Distrito Este de Nueva York
  225 Camdan Plaza Este
  Brooklyn, Nueva York 11201


         Soy Linda Cristina Pereyra Gálvez, esposa de Genaro García Luna me dirijo a usted con
  respeto para compartirle algunas experiencias que hemos vivido durante los 35 años de nuestro
  matrimonio.

          Genaro ha sido la persona con la que he compartido prácticamente toda mi vida. Él es un
  hombre honorable y de sólidos valores humanos. He sido testigo, a lo largo de nuestra vida como
  pareja, su compromiso con en el bien común; es un hombre que sabe la importancia de la
  familia y que se destaca por tener principios como el respeto, lealtad, compasión, honestidad y
  solidaridad.

         Al inicio de nuestra historia Genaro y yo tuvimos que trabajar duro para que el pudiera
  terminar su carrera como ingeniero ya que los dos trabajábamos y estudiábamos al mismo
  tiempo, nuestro primer reto era poder graduarnos; pero hicimos un gran equipo y tuvimos éxito.
  Genaro tiene un gran sentido de responsabilidad y compromiso lo pude comprobar cuando
  trabajamos juntos; siempre se distinguió del resto del equipo por eso rápidamente llamo la
  atención de sus superiores y ellos pusieron los ojos en él para darle proyectos de alta
  responsabilidad a su corta edad. Con el paso del tiempo pude observar que además tenia una gran
  capacidad de liderazgo y siempre buscaba en su trabajo la excelencia.

          Cuando Genaro y yo nos casamos tuve que adaptar muchos aspectos de mi vida y
  aprender a vivir con alguien que siempre estaba trabajando en algún proyecto, alguien que estaba
  lleno de ideas y que las llevaba a la practica con éxito; creo que trabajar con el me dio la
  capacidad de entender la importancia de su trabajo para el bien común, para un bien mayor; el
  deber ser.

          Genaro como esposo ha sido el mejor compañero, es divertido, amable y siempre atento
  a mis necesidades, afortunadamente la confianza y la lealtad han sido los grandes valores que nos
  han acompañado durante todos estos años de matrimonio y que nos han ayudado superar los
  tropiezos que todo matrimonio tiene; un día mi hijo preocupado por el divorcio de los padres de
  un amigo cercano me pregunto: cual seria el motivo por el cual yo podría divorciarme de su papá
  y le respondí que yo solo me separaría de su padre si el me engañara o me fuera infiel, hoy sigo
  pensando lo mismo creo que la confianza una vez se rompe no se puede recuperar. Estoy muy
  orgullosa de saber que esa confianza nunca se ha vulnerado.
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         También ha sido un gran hermano e hijo; siempre ha tenido a su familia cerca, a sus
  padres y hermanos. En los momentos difíciles siempre esta presente para ayudar con lo que sea
  necesario. Él es un pilar muy importante en nuestra familia, su ejemplo de honorabilidad y
  responsabilidad nos han guiado siempre.

          Recuerdo con claridad que uno de sus deseos en su vida era tener cerca a su madre y
  poder cuidar de ella y así fue, ella estuvo con nosotros hasta el día de su muerte. Cuando los
  médicos le diagnosticaron cáncer de estómago a mi suegra fue una terrible noticia, pero
  buscamos siempre que ella tuviera la mejor atención. Entendimos que solo nosotros podíamos
  darle la atención que necesitaba, así que los dos compartimos la responsabilidad de alimentarla,
  bañarla y atender todas sus necesidades básicas, para no depender de una enfermera. Genaro
  nunca quiso dejarla en un hospital y estuvo con ella hasta su muerte. Murió en nuestra casa y fue
  Genaro quien tuvo que cargarla en sus brazos para entregarla a los servicios funerarios él le había
  prometido a su madre que nunca la dejaría y lo cumplió a cabalidad.

          Sin lugar a duda nuestros valores han sido pegamento en nuestro matrimonio y nuestro
  hilo conductor para educar a nuestros hijos. Nosotros estamos convencidos que la mejor
  educación esta en el ejemplo y lo practicamos en casa.Tenemos dos hijos de los cuales estamos
  muy orgullosos, por su calidad humana y profesionalismo. Hoy estamos seguros que gracias a
  estos valores, que les inculcamos desde muy pequeños, pueden emprender su propio camino y
  seguir cosechando valores familiares y humanos que hacen tanta falta en el mundo.

          En el ámbito profesional he sido testigo de los grandes proyectos que el ha emprendido
  gracias a su talento, ética y excelencia profesional. El ha tenido el reconocimiento nacional e
  internacional por su magnífico desempeño laboral en todos los proyectos que ha dirigido. Genaro
  desde muy joven fue capacitado por las mejores agencias internacionales y consta en todos sus
  reconocimientos a nivel internacional.

         Nunca en la historia de México hubo una colaboración tan extensa entre México y
  Estados Unidos en materia de seguridad como la que el logró establecer cuando fue Secretario de
  Seguridad Pública. Amigos de estas agencias estuvieron en mi casa con sus familias
  compartiendo momentos importantes con nosotros. Genaro es una persona que deja huella en las
  personas que tienen el privilegio de contar con su amistad, siempre me lo decían.

          Yo no tengo mas que agradecimiento y reconocimiento para mi esposo. Estuve en los
  buenos y malos momentos así como el estuvo en los míos. Yo padezco de una enfermedad
  crónica degenerativa en los riñones desde hace 20 años. Por esta razón, tuve que someterme a un
  trasplante renal y pase un largo tiempo en el hospital. Durante esos años, Genaro siempre estuvo
  conmigo, llegaba al hospital de noche para dormir conmigo y salir muy temprano para poder
  bañarse y llevar a nuestros hijos a la escuela, Genaro y mi madre fueron las personas mas
  importantes que me mantuvieron a flote durante ese tiempo. Cuando las cosas no salían bien y
  tenía una recaída Genaro siempre tenía las mejores palabras de aliento. En los momentos más
  difíciles de mi enfermedad, nunca se dio por vencido incluso cuando yo no podía más y estaba
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  vencida, el me levanto y me animo a seguir adelante y no parar. Cuido a nuestros hijos, muchas
  veces haciendo tareas que a mi me correspondían pero el supo encargarse con valentía y
  responsabilidad hasta que yo pude recuperarme.

          Hoy le pido señoría, con respeto, que por favor tome en cuenta las palabras de la mujer
  que ha vivido con el por 35 años, que lo eligió para casarse con él, y que lo sigue eligiendo hasta
  el día de hoy por sus inquebrantables valores y resiliencia. Incluso me atrevería a decir que no
  hay persona que lo conozca mejor que yo, porque no solo ha sido mi esposo, sino también mi
  amigo, mi confidente. Conozco su corazón y conozco su alma y puedo afirmar que sigue siendo
  la misma persona que describo en esta carta; con su sonrisa franca y amable, dispuesto a
  compartir su conocimiento y ayudar a otros no importa que el este destruido por dentro siempre
  tendrá un espacio para darle la mano alguien que necesite de un consejo o un abrazo. La
  separación ha sido desgarradora para nuestra familia, en todo este tiempo Genaro ha perdido a
  tres de sus hermanos por diferentes causas y ha sido terrible no poder estar en sus últimos
  momentos de vida sin poder despedirse de ellos. Saber que se fueron con el corazón roto de
  saber que su hermano menor estaba detenido ha sido muy doloroso. Seguimos creyendo en las
  leyes y la justicia con la fuerza que Dios nos da cada día.

  Gracias por su atención y que Dios lo bendiga.


  Atentamente,
  Linda Cristina Pereyra Gálvez
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                                          TRANSLATION

  Honorable Brian M. Cogan
  United States District Judge
  United States Courthouse
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201


          I am Linda Cristina Pereyra Gálvez, Genaro García Luna’s wife. I respectfully write to you
  to share with you some experiences we have gone through during the 35 years of our marriage.

          Genaro has been the person with whom I have basically shared my whole life. He is an
  honorable man with solid human values. Throughout our life as a couple, I have witnessed his
  commitment to the common good; he is a man who knows the importance of family and who
  stands out for having principles such as respect, loyalty, compassion, honesty and social
  responsibility.

          At the outset of our story Genaro and I had to work hard so he could complete his
  university degree as an engineer, since both of us worked and studied at the same time. Our first
  challenge was to be able to graduate, but we made up a good team and were successful. Genaro
  has a great sense of responsibility and commitment, which I was able to see for myself when we
  worked together; he always stood out from the rest of the team, that is why he was quickly
  noticed by his superiors, and they placed their eyes on him to entrust him with high-
  responsibility projects at his young age. Over time I was able to notice that, in addition, he had
  great leadership skills and always strove for excellence in his work.

         When Genaro and I got married I had to adjust many aspects of my life and learn to live
  with someone who was always working on some project, someone who was full of ideas and
  successfully implemented them; I believe that working with him afforded me the ability to
  understand the significance of his work towards the common good, the greater good, what one
  ought to be.

          As a husband, Genaro has been the best partner: he is funny, kind and is always attentive
  to my needs. Fortunately, trust and loyalty have been the great values that have gone hand in hand
  with us throughout these years of marriage, which have helped us overcome the challenges any
  marriage has. I was once asked by my son -- who was worried about the divorce of the parents of
  a close friend -- what would be the reason I might divorce his father. My reply to him was I
  would only leave his father if he would lie to me or were unfaithful to me. I still think the same
  thing today; I believe that trust, once broken, can never be gained back. I am very proud to know
  that trust has never been broken.
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          He has always been a great brother and son; he has always had his family close by, his
  parents and siblings. He is always there during difficult times to help with whatever is necessary.
  He is a very important pillar in our family, his example of honorableness and responsibility have
  always guided us.

           I clearly remember that one of his life’s wishes was to have his mother close to him and
  to be able to look after her, which happened to be the case. She stayed with us until the day she
  died. It was a terrible news when doctors diagnosed my mother-in-law with stomach cancer, but
  we always saw to it that she would get the best care. We understood that only we could provide
  the care she needed, so that both of us shared in the duties of feeding her, bathing her and taking
  care of all her basic needs so as not to rely on a nurse. Genaro never wanted to leave her in a
  hospital, and he stayed with her until her death. She died in our home, and it was Genaro who
  had to hold her in his arms to turn her over to the funeral services. He had promised his mother he
  would never leave her, and he fully kept his promise.

          There is no question that our values have been the mortar in our marriage and our
  guiding principle to educate our children. We are convinced that the best education lies in
  leading by example and we practice it at home. We have two children of whom we are very
  proud, because of their human qualities and professionalism. Today we are confident that, thanks
  to these values we instilled in them since a very early age, they can set out on their own path and
  go on reaping family and human values so sorely needed in the world.

           In professional terms, I have witnessed the great projects undertaken by him thanks to his
  talent, ethics and professional excellence. He has garnered both national and global recognition
  for his excellent performance at work in all projects led by him. From a very early age, Genaro
  was trained by the best international agencies, and this appears for the record in all his global
  commendations.

          Never in the history of Mexico has there been such a widespread cooperation in the area
  of security between Mexico and the United States as the cooperation he managed to establish
  when he worked as Secretary of Public Security. Friends from those agencies were at my home
  with their families, sharing important moments with us. Genaro is a person who leaves a mark
  on the people who have the privilege of relying on his friendship – they would always tell me
  that.

          I have nothing but gratitude to and appreciation for my husband. I have been beside him
  during his good and bad times, just as he has been during mine. I have been suffering from a
  chronic, degenerative kidney disease for 20 years. Because of this, I had to undergo a kidney
  transplant and spent a long time in the hospital. During those years, Genaro was always by my
  side; he would arrive at the hospital in the evening, to spend the night with me, and would leave
  very early to be able to take a shower and take our children to school. Both Genaro and my
  mother were the most important people who kept me afloat throughout that time. When things
  did not work out and I would suffer a relapse, Genaro always had the best words of
  encouragement. At the most difficult times during my illness he never gave up, even when I
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 could not take it anymore and had given up, he would lift my spirits and encourage me to go on
 and to not stop. He looked after our children, oftentimes doing chores that I was supposed to do,
 but he knew how to valiantly and responsibly take over things until I was able to recover.

           Today I respectfully ask you, Your Honor, to please take into account the words of the
  woman who has lived with him for 35 years, who chose him to get married to him, and who still
  chooses him until the present day for his unshakeable values and resiliency. I would even dare
  say there is no one who knows him better than I do, for not only he has been my husband but he
  has also been my friend, my confidant. I know his heart and his soul and I can affirm that he still
  is the same person I describe herein, a man with a forthright and kind smile, who is willing to
  share his knowledge and to help other people no matter if he is broken inside, he will always
  have room to lend a hand to someone in need of a piece of advice or a hug. Being apart has been
  heartrending to our family; throughout this time, Genaro has lost three of his siblings for various
  reasons, and he has not been able to bid farewell to them in the last moments of their lives.
  Knowing that they were gone with a broken heart, in the knowledge that their youngest brother
  was in custody, has been very painful. We still believe in the laws and justice with the force
  God gives us each day.

  Thank you for your attention, and may God bless you.


  Yours very truly,
  Linda Cristina Pereyra Gálvez
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                                                             28 agosto 2024

    Honorable Brian M Cogan
    Juez de Distrito de los Estados Unidos
    Palacio de Justicia de los Estados Unidos
    Distrito Este de de Nueva York
    225 Cadman Plaza Este
    Brooklyn, Nueva York 11201


    Hola Honrable Juez Hogan.


    Mi nombre es Gerardo Ruiz Mateos, conozco a Genaro García Luna
    desde el año 2006. Coincidimos en el gobierno del Presidente Felipe
    Calderón y tuve la oportunidad de tratarlo no nada más en el ámbito
    profesional, si no también en el ámbito personal.


    Desde que lo conocí, siempre fue una persona increíblemente
    respetuosa y cariñosa con un servidor. Un hombre dedicado a su trabajo
    como pocos que me toco colaborar. Una persona que cumplió con todos
    los objetivos que se le plantearon. Pero sobre todo una persona que
    vivía para su familia.


    Recuerdo muy bien cuando su esposa Cristina tuvo problemas de salud
    muy grave, su preocupación por ella era indescriptible, la preocupación
    por sus hijos, la forma como enfrento ese evento fue de una manera
    ejemplar; no solo por su profunda preocupación, también por la
    entereza, que fue factor fundamental para que ella pudiera salir
    adelante.
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    En otra ocasión por cuestiones de seguridad, Cristina y sus hijos
    tuvieron que salir de México. La preocupación de Genaro en esos
    momentos fue enorme, pero siguió hasta el ultima día de su encargo
    trabajando y demostrando la eficiencia en su actuar, que están
    demostrados con las estadísticas nacionales en su ámbito de acción.


    Como es sabido, después de su encargo, tuvo que salir del país por
    razones de seguridad. Se tomo ese tiempo para hacer una maestría y
    desarrollar un indice de seguridad muy innovador con el objeto de seguir
    aportando al mejora de seguridad no nada más en México si no en todos
    los países que se pueda utilizar.


    Genaro siempre fue una persona muy responsable, un hombre de
    familia, un amigo solidario, desde mi punto de vista una persona
    excepcional.


    Espero Juez Hogan, que estas palabras aporten para bien en la
    sentencia próxima.


    Queda con usted


    Gerardo Ruiz Mateos
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                                TRANSLATION

                                                            August 28, 2024

    Honorable Brian M. Cogan
    United States District Judge
    United States Courthouse
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201


    Hello, Honrable Juez Hogan [sic],


    My name is Gerardo Ruiz Mateos, I have known Genaro García Luna
    since 2006. We happened to meet during President’s Felipe Calderón’s
    Administration, and I had the chance of dealing with him not only
    professionaly but also personally.


    Since I first met him, he has been an incredibly respectful and caring
    individual towards the undersigned. He is a man devoted to his work, as
    few men are that I have had to work with. A person who has met all
    targets set out for him. But, above all, he is a person who lives for his
    family.


    I remember quite well when his wife Cristina had very serious health
    issues, his concern over her was beyond words, his concern over his
    children; he faced this event in an exemplary manner, not only because
    of his deep concern but also because of his fortitude, which was a key
    factor for her to be able to move forward.
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    On another occasion, Cristina and her children had to leave Mexico over
    security concerns. Genaro’s concern at that time was huge, but he kept
    on working until the last day of his tenure while efficiently performing ,
    which the domestic statistics in his area of activity can prove.


    As known, at the end of his tenure he had to leave the country for
    security reasons. He used that time to get a master’s degree and to
    develop a very innovative safety rating for purposes of continuing to
    contribute to improve security not only in Mexico but in all countries
    where it can be implemented.


    Genaro has always been a very responsible individual, a family man, a
    supportive friend and, from my point of view, an exceptional individual.


    I hope, Judge Hogan [sic], that these words will be useful for the
    upcoming sentencing.


    I remain, yours faithfully,


    Gerardo Ruiz Mateos
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  The Honorable Brian M. Cogan
  United States District Judge
  United States Courthouse
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  My name is Genaro Garcia Pereyra, and I’m the son of Genaro Garcia Luna. I hope this
  letter helps provide a better understanding of the great man, amazing father, and
  positive influence my father has been throughout his life. I respectfully ask that you
  consider the positive impact he has had on my life and my community when determining
  the number of years he will be sentenced.

  For as long as I can remember, my father has always been known for caring deeply
  about the well-being of his family. This has been one of the guiding principles of his
  life—providing for his family with honor and working hard to do so. From being a
  delivery driver after school in his teenage years in order to pay for the family groceries
  for the week, as my grandmother would tell me, to falling asleep in our kitchen while
  finishing work he brought home, his dedication has always been unwavering.

  Even though the nature of his job required him to be constantly working, my father
  always prioritized the brief periods of time we had during the week to spend together.
  He was a very present father figure. During my younger years, he helped shape my
  character and made sure I understood that to achieve my goals, I had to work hard. In
  my later years, when my passion for soccer grew, he would attend my games, carefully
  watching and giving me advice on how I could improve and be better. For a certain
  period of time while trying out for a soccer youth club I would get bullied for being one of
  the younger and newer players on the team, and I will always remember my dad guiding
  me through that experience, always being by my side and giving me the words of
  encouragement to never quit and face that experience with fortitude.

  As an introvert, I’ve always struggled to connect with strangers and the people around
  me. However, my father has always been a role model for how to overcome that barrier
  and positively influence others, regardless of the situation. I still remember when I was
  around 7 years old, my father would take me to a small quesadilla vendor on the street,
  right across from the barbershop where we got our haircuts together. I loved going to
  that barbershop with him, but I always felt anxious at the end of the haircut because I
  knew my father would encourage me to talk to one of the kids hanging around, selling
  anything from bubble gum to mazapanes. He would say, 'Go make a friend—ask him if
  he's in the same grade as you.' My father would then join our conversation, encouraging
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  the kid to stay in school, eventually inviting him to eat a quesadilla with us, and buying
  all the items the kid had planned to sell for the day.

  During times of crisis within the family, my father would not only be there for my mother,
  sister, and me but would also find extra strength and time—sometimes going days with
  only a couple of hours of sleep—to ensure we were okay. When my mother came close
  to death, and our family seemed to be falling apart, my father made sure we stayed
  strong and never lost hope. I will never forget the sight of his extremely tired eyes as he
  briefly removed his face mask to smile at us—while sitting beside a huge pile of
  documents, just like the ones we were used to seeing in his office—reassuring us that
  everything went well with my mother's kidney transplant surgery and that everything
  was going to be okay.

  For my father, education has always been a priority, and forging my own academic path
  was something he instilled in me. He influenced me to prioritize my educational journey,
  helping me understand how it would lead me to find my vocation and meaning in life.
  His desire to understand the world and explain the nature of things has always been
  contagious, shaping the way I think and view the world. Reflecting on every decision
  that led to my academic career in computer science at Purdue University, my father has
  always been my guiding north star and an inspiration to never lose the desire to grow
  and learn. From telling me stories of how he worked different jobs to ensure he could
  attend university, to witnessing him work past midnight on his projects while pursuing his
  MBA—even as a former secretary of state—he always sought to grow and fulfill that
  insatiable curiosity and desire to learn.

  One of my father's greatest qualities is that he is a man who does the right thing, even if
  it means facing adversity or criticism. He has always been a principled trailblazer, and I
  witnessed this aspect of him during his post-career as a secretary of state. He took his
  ideas to various think tanks, chambers of commerce, and forums across the U.S.,
  continually pushing the boundaries of what people expected of him, always with the
  mission of providing value to the nation he loved and honored. I would remember that
  during those times I would ask myself why my father would work that hard if we had
  already achieved so much in his career, but now I understand. My father needed to
  honor those core values that my grandparents instilled in him: hard work, selflessness,
  and most important of all to serve a greater purpose.

  Everyone who had the opportunity to meet my father—outside the media and
  job-related activities—was always impressed by how loving and funny he was with his
  close circle. I remember having sleepovers at my house as a kid, and my friends would
  always say they thought 'my dad was the strict one,' to the point where we would joke
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  that they now believed my mom was actually the strict one in the family. As far back as I
  can remember, media pressure and public scrutiny have been constants in our lives, but
  that never stopped my father from showing his true self with family and friends. Every
  time we had an opportunity to gather as a family or have dinner with friends, he was
  always the one to come up with all kinds of jokes that would leave everyone dying of
  laughter. Even during this difficult time we have had to face as a family, he somehow
  finds a way to make us laugh, helping us forget, if only for a few seconds, the place and
  situation we're facing while visiting him at MDC.

  Something that continues to amaze me about my father is his ability to fully enjoy the
  simple things in life, finding the greatest happiness and satisfaction in sharing those
  moments with the people he loves and cares about most. My father always found joy
  and wonder in the little things. As a young kid, I would sit with him by his beloved
  stereo, where he kept all his favorite CDs, ranging from Led Zeppelin to Aretha Franklin.
  We would sit there for hours as he encouraged me to distinguish the different
  instruments and explained how each played an important role in the song. Sometimes,
  he would even play his favorite bachata songs and teach me the basic counts and
  moves, as he always had a passion for dancing and loved to dance with my mom and
  grandmother. He would always say to me that the greatest satisfaction in life was to
  ‘share the things that you love the most with the people that you love the most,’ and that
  is something I’ve learned to embrace and cherish in this life.

  Now that I no longer have the opportunity to have my father in my life as I once did, I’m
  more aware than ever of the great positive influence he has had on me. Without him as
  the teacher, leader, and friend who guided me through difficult times—even the one
  we’re facing now as a family—I couldn’t imagine becoming the man I am today. I have
  nothing but the deepest admiration, respect, and love for my father, for all the positive
  influence he has had on my life, always guiding me to do the right thing, strive to be of
  service, and create a positive impact in my community. For my father, the true meaning
  of success has always been measured by how much of a positive impact he has had on
  me and our family, knowing that seeing us grow would be the greatest satisfaction he
  could ever experience. I hope that one day, when I have the opportunity to start building
  my own family, I can be even a fraction of the amazing father that he has been to me.

  Honorable Brian M. Cogan, I respectfully ask that you consider my experience of having
  Genaro Garcia Luna as my father while determining his sentencing. I hope I’ve been
  able to convey at least a glimpse of the amazing man he is and the positive influence
  he’s had in my life. Please take this perspective of a great man into consideration. As
  my father taught me, I am a man of laws and will always respect the law. God bless you.
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  Kenneth Diaz


  To Whom It May Concern,


  My name is Kenneth Diaz, and I have been in the public service sector, as a teacher, for 7 years. I
  have not yet had the opportunity to meet the defendant, Mr. Genaro Garcia Luna, but I know him
  and his values through knowing the people that he loves the most; I am the fiancé of Mr. Genaro
  Garcia Luna’s daughter, Luna. I have known Luna for over two and a half years and have asked her
  to marry me, based on her values, her morals, and her ethics.


  I have seen the values that Mr. Genaro Garcia Luna has instilled in his family: integrity, loyalty, and
  resiliency. Each member of his family has exemplified these qualities in their daily lives. Additionally,
  they represent Mr. Genaro Garcia Luna’s values of respect, service to others, and the importance of
  family. Luna and I met at work, where we taught in a Title 1, low-income, neighborhood city school
  that served a mostly minority and homeless population. Firsthand, I saw Luna’s compassion, respect,
  and service to others through her relationships with her co-workers, her students, and their families.
  While working, I witnessed her integrity and resilience of teaching students who struggled with
  homelessness, abuse, and academic inequalities. As I started to know Luna further, she credited one
  person for her values and strong moral compass: her father, Mr. Genaro Garcia Luna.


  When you fall in love with a person, you fall in love with their whole being and who they are. I have
  learned that Luna is the result of two very humble and compassionate people: her mother and her
  father. Cristina, her mother, is humble, giving, and caring for her family and all those around her.
  However, Luna most closely resembles her father, Genaro Garcia Luna, in her determination, her
  strength, and her willingness to sacrifice her own self-interests for the good of others. Through
  knowing Luna for over two and a half years, I have heard Luna being compared to her father
  countless times. “Just like your dad”, says her brother and mother when she is determined with
  strong resolution to solve a problem. I proposed to Luna because I know who she is; therefore, I
  know that Genaro Garcia Luna is the type of man with determination, strength, and a willingness to
  sacrifice his own interests for the good of others.
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  While I may not know Genaro Garcia Luna personally, I believe that another way that you can get to
  know a person is through their works and acts. Genaro Garcia Luna obtained his Master of Business
  Administration from the University of Miami, while working and having two children, because he
  wanted to learn how to better serve his country. This is no small feat to raise a family and serve your
  country, while furthering your own education. I have also read two of Genaro Garcia Luna’s
  publications, The New Public Security Model for Mexico and Security with Wellbeing: A New
  Comprehensive Security Model. While reading these texts, I learned new insights and beliefs about
  how to help a country; insights and beliefs that stemmed from his education and moral drive within
  Genaro Garcia Luna. While reading, I could see a man who was trying to help his country and his
  people.


  I would like to thank the court for taking the time to read my letter. While I have not yet met him, I
  deeply know the people that are closest to his heart. I believe that the best way to know a person is
  to know the people that surround him. His daughter, son, and mother are people of the highest
  quality and integrity, which is in large part to Mr. Genaro Luna. Therefore, I know that Mr. Genaro
  Garcia Luna is a person of the highest quality and integrity. After reading Genaro Garcia Luna’s
  publications, I learned to understand a highly education man who decided to use his education to
  better serve his country and his people in Mexico. As a fellow civil servant, while reading his texts, I
  could sense the strong passion that Genaro Garcia Luna had (and still has) to improve and help his
  country. As an advocate for the family, I ask for leniency and understanding of the entire person of
  Mr. Genaro Garcia Luna in sentencing; a man of integrity, determination, sacrifice, and willingness
  to help others. I am available for any clarification on any of my statements in my letter.


  Kenneth Diaz
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  The Honorable Brian M. Cogan
  Juez de Distrito de los Estado Unidos
  Palacio de Justicia de los Estado Unidos
  Eastern District of New York
  225 Camdan Plaza Este
  Brooklyn, New York 11201


  I am Luna Sofia Garcia Pereyra, the daughter of Genaro Garcia Luna and I am respectfully
  writing this letter to ask for leniency and consideration during sentencing given who my dad is as
  a person. I am now twenty-six years-old and I can whole-heartedly say that my father and his
  values have made me the person I am today: a proud educator of young minds who has the well-
  being of her community as a priority.

  Growing up I remember several moments where my dad's family values were put to the test. The
  first moment that comes to mind was when my grandpa, Nicolás, suddenly passed away. There
  were many people in our family that depended on him, including my grandmother. I can
  remember falling asleep on a bench at our church in the early hours of the morning, and waking
  up to my dad consoling all of his siblings and my grandmother. I was confused because he was
  the youngest of all his siblings, yet he was taking care of everyone as if he had just become the
  dad of his whole family. My grandpa’s shoes were difficult shoes to fill as he was well-known in
  his community for his drive to help kids in need; he was the first person to show my dad the
  importance of one’s community.

  My grandma used to tell me that the neighborhood that they used to live in was not the best place
  for kids to grow up in, so my grandpa and dad took it upon themselves to create a tutoring
  program for these kids so that they would stay in school and graduate. They also created, what I
  remember as the most fun times when my brother and I were little, a mini-Olympic games where
  kids from that neighborhood could participate in and begin to see sports as something they can
  do during their downtime, rather than drinking or smoking. This program lasted for a really long
  time, back to when my dad was in school up to when my brother and I were born. This program
  included track and field, soccer, and baseball. As I describe these things, one could picture
  resources with uniforms and snacks but really it was all done with what my dad and grandpa
  could find. Track and field lines were made with chalk on the street, the soccer field was at their
  local park that had soda cans as goals, and the baseball field was at the same street where track
  and field had been hosted the day before. The food that they could provide was donated by the
  neighborhood market which consisted of rotten fruit, which my grandma was able to turn into
  sweetened fruit and hot water with honey and lemon because they had no money to provide any
  type of electrolytes for the kids, yet they knew they needed to take care of them.

  I was only four-years-old when my grandpa died and had only spent four years seeing the impact
  that he and my dad had in their community. But my dad's drive to make sure that everyone was
  well rang true until the very last day of my grandma’s life. My grandma was my dad’s superhero,
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  she fought through extreme poverty to make sure her 7 children had food on the table. She
  worked long hours and days, and my dad saw this immeasurable effort and knew he wanted to
  take care of her one day.

  That day came when my grandma got diagnosed with terminal stomach cancer, my parents
  decided to move her to our house so they could take care of her. By this, I mean they would do
  everything for her: feed her, bathe her, sleep next to her. During this time, I saw my dad
  performing every single one of these tasks with love, care, and so much gratitude. My dad was
  the person to bring my grandma down the stairs of our house and hand her to the funerary
  services after she had passed away a couple hours before. I had never seen my dad so broken to
  the point that I had to ask him to let her go, so that they could take her from his arms. She taught
  him the value of family, the importance of education, respect for oneself and others, and most
  importantly the drive to fight for a better future.

  I want to also take this opportunity to bring to your attention, Honorable Judge Cogan, that if
  there are no letters received from my dad’s parents or any of his siblings, this is not due to their
  lack of love or admiration of him but rather that they have unfortunately passed away. As I
  explain in this letter, my grandpa, Nicolás, passed away when I was 4-years-old and before
  grandpa Nico passed away, he made sure to designate my dad as the new head of the family
  despite his young age. My grandma, Chelito, passed in July of 2017, just two weeks after my
  dad’s birthday. He was the last face she saw, as she said goodbye one last time. As for his
  siblings, all of them passed during the COVID pandemic and while he was in MDC, so he never
  got the chance to say goodbye.

  Growing up with my dad was the best life adventure I have ever experienced. He taught my
  brother and me that the most important things in life are abstract; such as the importance of
  family, the drive to become better for oneself and your community, the value in loyalty and
  patriotism, and most importantly working hard for the greater good. Through his stories and
  lessons throughout school and sports, I learned the importance of family, community, loyalty, and
  working for the greater good.

  While my brother and I were in sports such as swimming, soccer, and basketball, my dad would
  always remind us that sometimes it was not about winning but what you were able to do for your
  team. He would always inspire us by telling us that if we had exhausted every possible option in
  the field, or swimming pool in my case, then we had to feel nothing but pride. That is exactly
  what I felt and I knew he felt when he would show up at every single swimming meet during my
  swimming career from 8th grade all the way until 12th grade. Swimming, as a sport, was a
  foreign thing to him since he had devoted his time playing soccer or basketball so when I told my
  parents that I would really like to try for JV team and eventually Varsity team at school, I got
  nothing but support and inspiration to do the very best thing I could. My dad wanted to
  familiarize himself with each technique, especially the ones I would compete in, which were the
  freestyle and the backstroke. He watched videos, showed up to practice, and even talked to my
  coach to make sure he was supporting me every way he could. In 10th grade, I was chosen to
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  swim the mile which was made of about 20 laps. This really scared me because you have to
  know how to use your speed and strength. I told my dad this and the very next morning he woke
  up early and told me that we would go train. We did so until my first mile race. I remember
  getting nervous stepping onto the block, taking a deep breath, looking to the stands, and all I
  could see was my dad bursting with pride and nodding as if to say “you got this”. However, in
  reality, I would not have been ready for this race if it was not for my dad. I do not really
  remember much of that race, I just remember hugging my parents at the end of the meet and
  feeling that I had given my very best and that was all I could have done, just like my dad had told
  me.

  As I mentioned before, one of the biggest legacies my grandmother left my dad was the
  importance of education and that is another value my brother and I grew up with. Our education
  was something that we did not take lightly, we were aware of all the sacrifices our parents had
  made in order for us to get the best education out there. Both of my parents come from very
  humble beginnings and had to fight unimaginable circumstances in order to graduate college and
  find a job. But our parents were never afraid to share with us the hardships of their childhoods,
  especially my dad. Like I said, my dad’s family was a big family comprised of 3 women and 4
  men who would tirelessly help my grandparents clean other people’s houses, do other people’s
  laundry, and sell their own clothes at the Sunday flee market just so they could afford to pay the
  bills and buy enough food for everyone. My grandma would tell me that if her kids weren’t
  working, they were going to school to study because they knew that education was the only way
  to create a better future for themselves.

  My dad used to tell us how fortunate we were because our only job growing up was school; he
  explained to us that having a good education opened up the doors of the world. My dad knew
  that our best chance to get a good education was to go to a good college, so when it was time for
  me to begin preparing for my SATs/ACTs, he would stay up with me, explaining me a math
  problem or quizzing on vocabulary, but still making sure I would go sleep at a decent hour. As
  any teenager going into the test, I was extremely anxious but while I was leaving the car he
  would just say: “Now enjoy it! You have done everything you could do to prepare, and now you
  have to enjoy the product of all your effort”. I did not get it back then. How can someone enjoy
  taking a test for 4 hours? But somehow he always found the silver-lining in a situation, and most
  importantly he was telling me to enjoy the process. That has been one of the most important
  lessons I have learned from him, after four years in undergraduate and three years in higher
  education, if I had not learned to love and enjoy the process, I would not have crossed that stage
  and graduated. Furthermore, that lesson goes beyond my academics or sports but what we have
  endured now as a family, understanding that we have to enjoy life and its sweet and bitter
  moments; that it is our job to look and fight for what we believe in. My dad used to say that a
  person’s mesure of success is their children and I hope that I have given him enough things to
  feel proud of me.

  Looking back now, I am so grateful for my dad taking the time to tell us these stories because
  they made my brother and me value greater what we had. Most importantly these stories helped
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  us understand that we represented more than just ourselves, but generations of a family that has
  been characterized by hard work, the ability to raise to any challenge, and our commitment for
  the greater good.

  I believe that it was my grandma’s drive for new challenges that pushed my dad to start his
  Master’s in Business Administration. I hold these years dearly in my heart, given that my dad
  and I were both going through similar circumstances. We would both stay up really late to study,
  wake up really early to go to school, and do that all over again the next day. This had never
  happened before, due to his work in the government; my dad worked weekends and holidays
  when we were growing up but now he was back from school at the same time that we were. We
  would get to talk about our school projects, brainstorm, and push each other to give our very
  best. I have never met someone that is so eager to learn than my dad, and somehow he has found
  a way to inspire other people to see education as a pathway to a better future inside the
  Metropolitan Detention Center. When he told me that he was starting to give classes, he asked us
  to send him books about math, physics, chemistry, and history because he wanted to be prepared
  to give the best education he could. I think that really just sums up who my dad is: no matter
  where or how, he will always find a way to help someone. No matter his circumstances or well-
  being, he feels the most at peace when he is able to make a difference in someone’s day, and in
  this case someone’s life. He has been the person that has helped the most inmates to pass the
  GED in the history of MDC, which includes inmates who saw a positive change reflected in their
  sentencing since they have passed their GED. I think that this is a testament to who my dad is: a
  committed community member that has the well-being of other people before his own, and who
  is able to create a positive change in a hopeless place.

  The dedication that he has put into his students at MDC is not something new. My dad has
  always shown a deep passion to help others and his hard work to change our country for the
  better made him a trailblazer in more than one way. As a child, I remember going to important
  events with journalists and, from what I understood even back then, very important people.
  Those people would tell me that my dad was making a positive change in Mexico and how proud
  I should be of him as his daughter. But his recognition did not come overnight, my dad worked
  tirelessly through weekends, holidays, and birthdays knowing that the best gift he could give my
  brother and me was a safer country and future. Sometimes, I wish that I was a little older back
  then, to fully grasp all the positive change and all the lives he changed, but I am so grateful to be
  able to write this letter and shine some light on who he is and all the positive things he did. I
  remember this one time when we were waiting for our table at a restaurant: both my
  grandmothers were there because my parents always made sure we spent time with them, and a
  man recognized my dad. This man’s face lit up and fully went out of his way to hug my dad and
  thank him for his life. He quickly told his family to come back so he could introduce them to my
  dad and he explicitly told them that my dad was the reason he was alive. I was so confused
  because as a little girl I could not fully comprehend what that exactly meant but my dad very
  gracefully greeted the family and told the man that it was his job and he was very happy to see
  him well and with his family. It wasn’t until later on that I found out that this person had been a
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  victim of a kidnapping and my dad had rescued him from his kidnappers. This was yet another
  time where I got to see how my dad helped other people.

  My grandparents’ passings were not the first nor last time that my dad was put into difficult
  family situations. When I was about eight or nine years-old, my mom was diagnosed with a renal
  failure and had to go through dialysis and eventually a kidney transplant. These years when my
  mom was sick, my brother and I had to depend on my dad since suddenly our mom was just not
  fully herself or was simply not at home. I remember that my brother and I would worry a lot
  about her and we would pray together either at school or at home for her well-being. My dad
  caught us many times, he knew that not being able to see her for months at a time was affecting
  us, so he created “sleep overs” with mom. In other words, he would pick us up from school and
  take us straight to the hospital, where he had been the whole day and night, and we would hang
  out there until they told us that we had to leave. On the days when we were lucky, the doctor
  would open the doors that separated us from our mom and we would wave at each other. Not
  hug, not kiss, but just wave because her immune system was so very low. For awhile, that is all
  we had: a wave. Somehow my dad made a traumatizing experience for a couple of kids, bearable
  enough during those long years.

  Now, as an engaged woman, I only hope to love and be loved half as much as my dad loves my
  mom because everything he did back then was the biggest love proof I have ever seen. The
  sleepless nights, him carrying her into doctors appointments, the long meetings with doctors, and
  the uncertainty if my mom would actually be alive at the end of this long journey. There was
  never any hesitation or absence from my dad. That same certainty and support he gave my mom,
  my brother and I back then, is the certainty we want him to feel from us during this time.

  I cannot imagine a world where my children will not have my dad’s stories teaching them how to
  rise to a challenge or showing them how to solve a physics problem using what he calls “simple
  math” because to him, everything can be solved with a good equation. I have been blessed 21
  years with him, but that is not nearly enough time to fully learn all the lesson he has yet to teach
  me. The most important lesson: finding happiness despite any and all circumstances, finding
  happiness and goodness in challenging and harsh environments, holding onto those people who
  make you a better person, and Honorable Judge Cogan, I assure you that my dad is one of them.

  I really appreciate this opportunity, Honorable Judge Cogan, and I want to thank you for your
  time. I hope you take every word that I wrote in this letter into consideration and give my dad the
  minimum sentence based on who he is as a dad, husband, friend, and most importantly human
  being, along with all the great things he has done.

  Respectfully,
  Luna Sofía García Pereyra
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  Apreciable Juez, escribo esta carta esperando sea considerada para la sentencia de Genaro
  Garcia Luna.

  Mi nombre es Cristina Gálvez González suegra de Genaro Garcia Luna, tengo el gusto de
  conocerlo desde el año 1990 cuando él era aún muy joven, entonces era novio de mi hija
  Cristina.

  Genaro siempre fue un hombre respetuoso, honesto, trabajador y responsable, lo considero
  como un hijo.

  Sus acciones y el trato que siempre le dio a mi hija y a su familia siempre fue ejemplar; conmigo
  siempre fue atento y respetuoso.

  He tenido el privilegio de compartir momentos familiares muy importantes, como el nacimientos
  de sus hijos, cumpleaños, navidades etc. Si algo hace feliz a Genaro sin lugar a dudas es tener
  a su familia reunida, él es un hombre que disfruta de las cosas simples pero no menos
  importantes de la vida, y por la naturaleza de su trabajo el tiempo era un tesoro para él y lo
  aprovechaba con su familia cada vez que podía.

  Tuve la oportunidad de conocer a toda su familia y ellos son una familia unida que con el
  esfuerzo y trabajo de sus padres lograron dar estudios a sus 7 hijos. Genaro el menor de la
  familia tuvo el ejemplo y apoyo de sus hermanos tres de ellos ingenieros por lo que él decide
  estudiar Ingeniería Mecánica. Su madre era una persona muy especial que entregó su vida y
  amor a su familia y Genaro fue testigo de eso, no cabe duda que Genaro heredó de ella su
  generosidad y tuvo en su madre el mejor ejemplo de amor incondicional y trabajo. Nadie que
  conozca a Genaro se sorprendería de las cosas que él era capaz de hacer para ayudar a la
  gente que lo necesita, yo fui testigo de lo generoso que era con todos. Yo viví de cerca cómo
  ayudaba a sus empleados en su compañía con cursos de capacitación o prestación de
  servicios que les ayudará a tener un mejor nivel de vida. Siempre buscaba cómo ayudar a la
  gente.

  Mi hija fue diagnosticada con una enfermedad renal y después de algún tiempo fue sometida a
  un trasplante renal, creo que la enfermedad de mi hija nos hizo estar más unidos, sabíamos
  que estar unidos nos daría la fuerza para enfrentar ese momento tan complicado para todos, yo
  estaba muy nerviosa por mis hijos ya que mi otro hijo sería el donador y eso me tenía muy mal.
  Pero en Dios encontré la fuerza para seguir y también le dio la fuerza a Genaro para poder
  acompañar a mi hija en todo su proceso, yo tuve que ir a vivir con ellos todo ese tiempo ya que
  yo era quien lo ayudaba con sus hijos en casa mientras él estaba en el hospital con mi hija,
  muchas noches que ella tenía que estar en el hospital el dormia con ella ahí y después llegaba
  a casa muy temprano para llevar a sus hijos a la escuela. Lo vi trabajar los fines de semana
  desde su casa desde el hospital pero siempre cumpliendo con su trabajo y apoyando a mi hija,
  no tengo cómo agradecerle todo lo que hizo por nosotros.
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  Recuerdo muy bien el día que salieron de casa para ir al hospital para la cirugía y sus hijos se
  quedaron en casa conmigo y los dos me abrazaron y me dijeron no te preocupes abuelita mi
  papá los va a cuidar porque mi papá nos cuida a todos. Durante el tiempo que viví con ellos
  pude ser testigo de la relación que tenía Genaro con mi hija y sus hijos y me tranquilizo mucho
  saber que si por alguna complicación mi hija perdiera la vida Genaro tenía la capacidad y la
  fuerza de seguir adelante con mis nietos porque él no es el clásico proveedor de una familia
  que delega todas las demás responsabilidades a su esposa, él es el esposo que comparte
  todas las responsabilidades que hay en una familia, es un hombre excepcional.

  Un día comiendo en restaurante un hombre se acercó a nuestra mesa y se dirigió a mis nietos
  y les dijo que eran muy afortunados de tener como padre a un hombre valiente y entregado a
  su trabajo y que él le debía la vida, que lo había rescatado de un secuestro y nos contó algunos
  detalles, Genaro se levantó de la mesa y lo abrazo.

  Esta familia está incompleta, nos falta Genaro el hijo, el padre ,el hermano, nos falta su amor y
  sus consejos.

  Apreciable Juez le suplico en nombre de toda mi familia y con el corazón en la mano tome en
  consideración esta carta a favor de mi hijo Genaro Garcia Luna.

  Que Dios lo Bendiga.
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                                            TRANSLATION


  Esteemed Judge, I am writing this letter in the hope that it will be taken into consideration at
  Genaro García Luna’s sentencing.

  My name is Cristina Gálvez González, Genaro García Luna’s mother-in-law. I have had the
  pleasure of knowing him since 1990, when he was still very young and was the boyfriend of my
  daughter Cristina at the time.

  Genaro has always been a respectful, honest, hard-working and responsible man, and I view
  him as a son.

  His actions and the way he always treated my daughter and their family have always been
  exemplary; he has always been thoughtful and respectful towards me.

  I have had the privilege of sharing very significant family moments, such as the birth of his
  children, birthdays, Christmases, etc. If there is something that makes Genaro’s happy it is
  unquestionably to have his family gathered around him; he is a man who enjoys the simple
  things in life, albeit no less important ones. Because of the nature of his work time was
  treasured by him, and he took advantage of it with his family each time he could.

  I had the chance of meeting his whole family; they are a united family which, by dint of effort
  and his parents’ work, was able to educate their seven children. Genaro, the youngest one of
  the family, had the example and support of his brothers, three of whom became engineers, and
  thus he decided to study mechanical engineering. His mother was a very special person, who
  dedicated her life and love to her family. Genaro was a witness to that; there is no question that
  Genaro inherited his generosity from her, and in his mother he had the best example of
  unconditional love and work. No one who knows Genaro would be surprised at the things he
  was capable of doing to help people in need, I was witness to how generous he was with
  everyone. I experienced first-hand how he helped his company’s employees with training or
  service provision courses to help them achieve a better standard of living. He was always
  looking for a way to help people.

  My daughter was diagnosed with a kidney disease and, after some time, she underwent a
  kidney transplant. I believe my daughter’s illness drew us up closer together, we knew that
  being united would give us the strength to face such a difficult time for everyone. I was very
  nervous for my children’s sake, since my other son would be the donor, and I was in a very bad
  way because of that. But I found the strength in God to go on and He also gave Genaro the
  strength to be able to be by my daughter’s side throughout her process. I had to move in with
  them during all that time, as I helped him out with his children at home while he was in the
  hospital with my daughter. She had to spend many nights in the hospital and he would spend
  the nights there with her and then would come home very early to take his children to school. I
  saw him work weekends from home and from the hospital, but he always got his job done while
  supporting my daughter. I cannot thank him enough for everything he did for us.
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  I remember very well the day they left home to go to the hospital for the surgery, their children
  stayed behind at home with me. Both of them hugged and told me, “Don’t you worry, granny,
  my dad will look after us because dad looks after everyone.” Throughout the time I lived with
  them I witnessed Genaro’s relationship with my daughter and their children, and I was very
  relieved to know that, if my daughter would lose her life on account of some complication,
  Genaro had the ability and the strength to go on with my grandchildren, as he is not the classic
  family provider who delegates all other responsibilities to his wife but a husband who shares all
  the family’s responsibilities. He is an exceptional man.

  One day, while eating at a restaurant, a man approached our table and addressed my
  grandchildren. He told them they were very fortunate to have father a courageous man as a
  father, who was committed to his work, and that he owed his life to him. He had rescued him
  from a kidnapping, and he gave us some details. Genaro stood up from the table and gave him
  a hug.

  This family is incomplete. We miss Genaro, the son, the father, the brother. We miss his love and
  his advice.

  Esteemed Judge, I beseech you, on behalf of my whole family and with the heart on my hand, to
  take this letter into consideration in favor of my son, Genaro Garda Luna.

  God bless you.
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         El Honorable Juez Brian M. Cogan
         Juez de Distrito de los Estados Unidos
         Palacio de Justicia de los Estados Unidos
         Distrito este de Nueva York
         225 Cadman Plaza Este
         Brooklyn, Nueva York 11201




    Genaro García Luna es un hombre de Estado, un constructor de instituciones, un
    defensor de la ley y de las víctimas de la delincuencia, así lo hizo en sus 25 años
    de destacado servicio público. Es un maravilloso ser humano que ha dedicado su
    vida a servir a los demás y a México.

    En1998 creó una innovadora metodología para sistematizar el combate al
    secuestro y la atención a la situación de crisis a la que se enfrentaban las familias
    de las víctimas, nadie en la historia de México ha logrado igualar sus resultados.

    Bajo el mando de Genaro, en la Agencia Federal de Investigación (AFI) y en la
    Secretaría de Seguridad Pública federal (SSPF) de 2002 a 2012, logramos el
    rescatar y regresar con sus familias a 2,617 víctimas de secuestro, capturar a
    2,790 secuestradores y desmantelar 360 bandas de secuestradores. El secuestro
    es un flagelo en México. Yo tuve el privilegio de servir en la AFI como la primera
    mujer directora general en una policía federal en mi país y como la primera
    subsecretaría de Seguridad Pública federal.

    Su gran capacidad para llevar a la realidad sus ideas y su gran visión hicieron
    posible el diseño, desarrollo e instrumentación de Plataforma México, la creación
    de la Policía Federal (dependiente de la SSPF) con un nuevo Modelo Policial y el
    Nuevo Modelo Penitenciario.

    En tiempo récord, construyó una institución policial con estándares internacionales
    al pasar de seis mil elementos a más de 36 mil en cinco años. Para esto impulsó
    una infraestructura que contempló la construcción del Centro de Mando de la
    Policía Federal, el Centro de Inteligencia, las áreas de Análisis Táctico y de la
    División Científica.
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    Conocí a Genaro en 2003, él era director de la AFI y yo era periodista, editora en
    jefe de la sección de Seguridad y Justicia en TV Azteca, una de las dos televisoras
    nacionales más importantes en México.

    Lo que más me llamó la atención cuando lo conocí fue su enorme convicción de
    hacer de mi Nación un país mejor a través del eficiente combate a la delincuencia
    y el desarrollo de un nuevo modelo de policía que modificara estructuralmente a la
    corporación para un combate efectivo a la corrupción a través de un perfil
    universitario de los investigadores y un proyecto de vida para los policías y sus
    familias que los alejara de la corrupción.

    Él no era un político más, era un agente de inteligencia con una visión sistémica
    para crear nuevas instituciones con la más avanzada tecnología con nuevos
    cuadros mejor preparados y capacitados.

    A partir de la coincidencia en nuestras convicciones de construir un mejor país,
    más seguro para nuestros hijos y las nuevas generaciones se generó nuestra
    amistad.

    Nunca olvidaré el 23 de noviembre de 2003, después del evento de aniversario de
    la AFI, que encabezó el presidente Vicente Fox, en la redacción de TV Azteca nos
    enteramos que tres policías federales estaban siendo linchados en la capital del
    país. En un hecho inédito, el conductor estelar Javier Alatorre Soria y su servidora,
    tomamos la decisión de transmitir en vivo el linchamiento de los tres policías. Los
    agentes del orden fueron linchados por horas sin que el secretario de seguridad de
    la Ciudad de México, Marcelo Ebrard ordenara contener a los agresores.

    Fue hasta que el linchamiento se transmitió en red nacional que el Jefe de
    Gobierno de la Ciudad de México, Andrés Manuel López Obrador dio la orden de
    rescatar a los tres policías, para ese momento dos ya habían muerto después de
    ser sometidos a terribles torturas y ser quemados vivos, solo uno sobrevivió.

    Soy abogada y estudié Derecho porque mi anhelo es que en México exista un
    verdadero Estado de Derecho y pleno respeto a las libertades, mi sueño es poder
    ir al supermercado a comprar leche por la noche y no tener miedo de ser víctima
    de la delincuencia. La noche del linchamiento de policías federales en la Ciudad
    de México fue un parteaguas en mi vida: qué país les deparaba a mis tres
    pequeños hijos.

    Esa noche hablé con varios funcionarios de seguridad de mi país y al único que le
    importó fue a Genaro García Luna. A las horas, con las imágenes que
    transmitimos en la televisión, ordenó el arresto de las personas que participaron
    en el linchamiento con un operativo policial a gran escala.
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    Este caso, es el único en México, de personas que mataron a otros en un
    linchamiento han recibido sentencia firme por homicidio. Con enorme dolor le digo
    que en México los linchamientos quedan impunes por cuestiones políticas y
    electorales. Hubo mucha oposición política a detener a los asesinos, pero para
    Genaro el respeto a la ley y al orden es más importante que su cargo político.

    Después de ver su enorme convicción y sus acciones para hacer prevalecer la ley,
    tomé la decisión de dejar el periodismo y sumarme a su proyecto de construir un
    nuevo modelo de policía en la AFI.

    Al ingresar a la AFI, trabajé hombro con hombro con Genaro y otros muy
    respetables profesionales de la ley. Siempre la orden de Genaro fue combatir con
    todo el peso de la ley a los criminales, eso me consta y por eso puedo ver a mis
    tres hijos a cara, siempre trabajé con un hombre honesto, hombre de familia,
    dispuesto a dar la vida por su país y por el cumplimiento de la ley.

    Después de 2006 a 2012 acompañé a Genaro en la SSPF Secretaría de
    Seguridad Pública federal tuve el honor y el privilegio de servir a mi país desde
    distintas posiciones y como Subsecretaria.

    Ahí fui testigo de su entrega y compromiso con el cumplimiento de la ley y el
    orden, incluso a riesgo de su vida y la de su familia que fueron amenazados de
    muerte por el Cártel de Sinaloa de acuerdo con una notificación de la Embajada
    de estados Unidos en México. Nuestras familias saben que trabajábamos día y
    noche por México, con un esquema de servicio las 24 horas del día los 7 días de
    la semana.

    Me consta que todo lo que han dicho los criminales convertidos en testigos
    cooperantes es mentira, estuve ahí, vi como Genaro combatió a sus
    organizaciones criminales, logró el mayor decomiso de cocaína en la historia a
    nivel internacional, 23.5 toneladas equivalente a 2 mil 300 millones de dólares en
    2007 que pertenecían al Cártel de Sinaloa, el mayor golpe a esta organización
    criminal. Realizó el mayor aseguramiento de efectivo a una organización criminal
    vinculada al trafico de metanfetaminas de China de 205 millones de dólares,
    también relacionada con el Cártel de Sinaloa. El Cártel de Sinaloa tiene muchos
    motivos para desear a Genaro fuera del combate a los criminales.

    Como punto de referencia en 6 años de gobierno de Andrés Manuel López
    Obrador (01 de diciembre de 2018 al 20 agosto de 2024) todo el estado de fuerza
    federal integrado por 131 mil elementos de la Guardia Nacional (antes Policía
    Federal), del Ejército y de la Marina, han detenido a 90 mil 103 presuntos
    delincuentes de
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    Mientras que, del 1 de diciembre de 2006 al 30 de noviembre de 2012, la Policía
    Federal de la SSPF solamente con 36 mil policías, bajo el mando de Genaro,
    detuvo a 87 mil 571 presuntos delincuentes y los presentó ante los fiscales
    federales.

          De los 87,751 detenidos por la Policía Federal de la SSPF, destacan 2,720
           personas vinculadas principalmente al narcotráfico.

          De las 2,720 personas detenidas por pertenecer a alguno de los cárteles
           del narcotráfico, 795 pertenecen al cártel de Sinaloa-Pacífico, destacan
           50 por su nivel de mando superior en las estructuras jerárquicas de la
           organización a la que pertenecían o por su peligrosidad. Muchas de
           esas detenciones se realizaron en coordinación con el gobierno de Estados
           Unidos. (Anexo nombres y fechas de captura)

       Honorable Juez Cogan, algo que es importante que conozca es que, desde
       octubre de 2008 al 30 de noviembre de 2012, el Presidente Felipe Calderón
       ordenó que el combate a los carteles de las drogas se hiciera de la siguiente
       forma entre las dependencias del gabinete de Seguridad:

               Secretaría de la Defensa Naciones fue la encargada del combate al
                Cártel de Sinaloa y su escisión el Cártel de los Beltrán Leyva
               Secretaría de Marina; responsable del combate a el Cártel del Golfo
               Secretaría de Seguridad Pública federal: combate al cártel de la
                Familia Michoacana y del Cártel de los Zetas.

    Algo que valoro es que personalmente tuve la oportunidad de acompañar a
    Genaro a dos giras a Washington para reuniones de alto nivel donde fui testigo del
    trato preferencial que le brindaron los procuradores de justicia Eric Holder, la ex
    secretaria de Seguridad Interior, Janet Napolitano, la directora de la DEA, Michele
    Leonhart. Así como el director de la CIA, David Petreus, el director de la Oficina de
    Política Nacional para el Control de las Drogas, Gil Kerlikoswske.

    En México, con Karen Tandy ex directora de la DEA y con la ex secretaria de
    Estado Hilary Clinton. Es algo que atesoro en mi corazón.

    Prueba de este respeto a la trayectoria profesional de Genaro son todos los
    reconocimientos otorgados por los gobiernos de Estados Unidos, México,
    Colombia y España a toda una vida dedicada al combate a los criminales y los
    terroristas.
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    Además, por la gran confianza de Estados Unidos a Genaro se le entregaron
    millones de dólares de los contribuyentes estadounidenses a la Secretaria de
    Seguridad Pública federal al mando de Genaro García Luna para el combate al
    narcotráfico y al terrorismo que operan de manera transnacional.

    Desde 2003 que la vida me otorgó el privilegio de conocer a Genaro, ha sido mi
    mentor, mi jefe y mi amigo, trabajé con el hasta el día de su detención el 9 de
    diciembre de 2019 y me consta que es un hombre decente, honesto, profesional,
    en extremo exigente consigo mismo y con los demás, es un verdadero feminista,
    un padre y esposo amoroso, un amigo leal y solidario, por todo lo anterior le
    suplico clemencia al momento de dictar su sentencia.

    Como a usted sabe, no hay ninguna prueba documental, ni una foto, correo
    electrónico, un solo dólar ilegal que muestre que Genaro sea corrupto, no hay
    prueba de eso porque no existe. Solo el dicho de testigos que mintieron por
    beneficios o venganza. Creo en la justicia y que en el sistema jurídico de Estados
    Unidos prevalecerá la justicia para un hombre que tanto aportó a los Estados
    Unidos combatiendo a terroristas y narcotraficantes que operaban
    internacionalmente.

    Honorable Juez, le pido que tome en cuenta en su sentencia, que Genaro dedicó
    25 años al combate a los criminales y terroristas que operan de manera
    internacional, salvó la vida de más de 2 mil víctimas de secuestro. Su trayectoria
    profesional fue destacada que recibió en Estados Unidos la visa E en
    reconocimiento al mérito.

    Incluso en prisión el espíritu de servicio a los demás sigue vivo dentro de Genaro,
    he tenido la oportunidad de visitarlo en marzo y en julio pasados y tienen un gran
    compromiso de dar clases de matemáticas, física y química a otros internos para
    que acrediten grados académicos que les permitan una vida mejor.



    Respetuosamente

    _______________

    Lic. Olivia Lizeth Parra Salazar

    Ex subsecretaria de Seguridad Pública Federal
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                                        TRANSLATION


         Honorable Juez Brian M. Cogan
         United States District Judge
         United States Courthouse
         Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, New York 11201



    Genaro García Luna is a statesman, a builder of institutions, a defender of the law
    and victims of crime, and he did so throughout his 25 years of outstanding public
    service. He is a wonderful human being, who has devoted his life to serving others
    and Mexico.

    In 1998, he developed a ground-breaking methodology to standardize the fight
    against kidnapping and the focus on crisis situations faced by the victims’ families.
    No one in Mexico’s history has managed to match his results.

    Between 2002 and 2012, under Genaro’s command, both at the Federal
    Investigative Agency (AFI, per its Spanish acronym) and the Federal Secretariat of
    Public Security (SSPF, per its Spanish acronym), we managed to rescue and return
    to their families 2,617 victims of kidnappings, we captured 2,790 kidnappers and
    dismantled 360 kidnappers’ gangs. Kidnappings are a scourge in Mexico. I had the
    privilege of serving as AFI’s first female Director General within the Federal Police
    in my country, as well as the first female federal Assistant Secretary of Public
    Security.

    His great capacity to execute his ideas and his great vision made it possible to
    design, develop and implement the Mexico Platform, the creation of the Federal
    Police (under the SSPF) under a new Police Model and a New Penitentiary Model.

    He built a police agency in record time based on international standards, which grew
    from 6,000 members to over 36,000 within five years. In order to do this, he promoted
    an infrastructure contemplating the building of a Federal Police Command Center,
    an Intelligence Center, a Tactical Analysis Unit and a Scientific Division.
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    I first met Genaro in 2003; he was AFI’s Director and I was a journalist/editor-in-chief
    of the Security and Justice unit at TV Azteca, one of Mexico’s two most important
    national TV stations.

    What struck me the most when I first met him was his great conviction to make a
    better country out of my Nation through the efficient fight against crime and the
    development of a new police model aimed at structurally modifying the institution, in
    order to effectively fight against corruption by means of a university profile for
    investigators and a life project for policemen and their families, which would keep
    them away from corruption.

    He was not merely one more politician, he was an intelligence agent with a systemic
    vision to create new institutions with the most leading-edge technology and with new,
    better educated and trained cadres.

    Our friendship developed from the meeting of the minds of our convictions to build a
    better, safer country for our children and the new generations.

    I shall never forget the date of November 23, 2003, after an event to celebrate AFI’s
    anniversary, which was headed by President Vicente Fox. We at the editorial offices
    of TV Azteca heard that three federal policemen were being lynched in the country’s
    capital city. In an unprecedented move, star newscaster Javier Alatorre Soria and
    the undersigned took the decision to broadcast live the lynching of the three
    policemen. The law-enforcement agents were lynched for hours, and yet Mexico
    City’s Security Secretary, Marcelo Ebrard, failed to order that the assailants be
    stopped.

    Not until the lynching was broadcast on a national network did Mexico City’s Chief
    of Government, Andrés Manuel López Obrador, issue the order to rescue the three
    policemen; by that time, two of them had already died, after being subjected to
    terrible tortures and being burnt alive. Only one of them survived.

    I am a lawyer and studied law because I yearn for a true State where the rule of law
    will prevail in Mexico, with full respect for freedoms. My dream is to be able to go to
    the supermarket to buy milk at night and to not be afraid of being a victim of crime.
    The night of the lynching of the federal policemen in Mexico City was a watershed in
    my life: what kind of country was in store for my three little children?

    That night, I spoke with several security officers from my country and the only one
    who cared was Genaro García Luna. In a matter of hours, based on the images
    broadcast by us on TV, he ordered the arrest – by launching a large-scale police
    operation -- of the individuals who took part in the lynching.
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    This case is the only one in Mexico involving individuals who killed others in a
    lynching and received a final sentence for homicide. It greatly pains me to tell you
    that lynchings in Mexico go unpunished on account of political and electoral issues.
    There was a great deal of political opposition against arresting the murderers, yet
    respect for law and order was more important to Genaro than his political office.

    After seeing his great conviction and his actions so that the law would prevail, I made
    the decision to give up journalism and joined in his project to build a new police
    model at AFI.

    Upon joining AFI, I worked hand in hand with Genaro and other, very respectable
    law-enforcement professionals. Genaro’s orders were to fight criminals with the full
    weight of the law at all times; I know this for a fact and thus I can look at my three
    children in the face; I always worked with an honest man, a family man willing to give
    his life for his country and for enforcing the law.

    Afterwards, between 2006 and 2012, I worked together with Genaro at the SSPF. I
    had the honor and privilege of serving my country in various posts and as Assistant
    Secretary.

    There I witnessed his devotion and commitment to law-enforcement and public
    order, even at the risk of his own life and that of his family as, according to a notice
    from the U.S. Embassy in Mexico, death threats had been made against them by the
    Sinaloa Cartel. Our families knew we were working day and night for Mexico, working
    24 hours per day, seven days per week.

    I know for a fact that everything said by criminals turned cooperating witnesses was
    a lie, for I was there. I witnessed how Genaro fought against their criminal
    organizations and achieved the largest global seizure of cocaine: 23.5 tons
    belonging to the Sinaloa Cartel, equal to U.S. $2.3 billion in 2007, the largest blow
    against this criminal organization. He achieved the largest cash seizure from a
    Chinese criminal organization linked to trafficking in methamphetamines, U.S. $205
    million, also in connection with the Sinaloa Cartel. The Sinaloa Cartel has many
    reasons to wish that Genaro be put out of action vis-à-vis criminals.

    By way of reference, during the six years of Andrés Manuel López Obrador’s
    Administration (December 1, 2018, through August 20, 2024) the whole federal
    force, consisting of 131,000 National Guard members (formerly the Federal Police),
    the Army and the Navy, arrested 90,103 alleged criminals, while between
    December 1, 2006, and November 30, 2012, the SSPF’s Federal Police, with just
    36,000 policemen, under Genaro’s command, arrested 87,571 alleged criminals
    and had them appear before federal prosecutors.
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       •   Out of 87,751 individuals arrested by the SSPF’s Federal Police, 2,720
           individuals stood out mainly for having links to drug trafficking.

       •   Out of the 2,720 individuals arrested for being members of any of the drug
           trafficking cartels, 795 were members of the Sinaloa-Pacific Cartel, 50 of
           whom stood out for their level of command within the hierarchical
           structures of the organization of which they were members or for their
           degree of danger. Many of those arrests were made in coordination with the
           U.S. government. (Names and apprehension dates are attached hereto.)

       Honorable Judge Cogan, something important you should know is that, between
       October, 2008, and November 30, 2012, President Felipe Calderón ordered that
       the fight against drug cartels be waged as follows among the various Security
       departments:

             •   The Secretariat of National Defense was mandated with the fight against
                 the Sinaloa Cartel and the spin-off thereof into the Beltrán-Leyva Cartel
             •   Secretariat of the Navy: responsible for the fight against the Gulf Cartel
             •   Federal Secretariat of Public Security: fight against the Michoacán
                 Family Cartel and the Zetas Cartel

    Something I treasure is that I personally had the chance of accompanying Genaro
    during two trips to Washington to hold high-level meetings, allowing me to witness
    the preferential treatment afforded to him by [former] Attorney General Eric Holder;
    former Secretary of Homeland Security, Janet Napolitano; [former] DEA
    Administrator, Michele Leonhart, as well as by [former] CIA Director David Petreus,
    and the [former] Director, Office of National Drug Control Policy, Gil Kerlikoswske.

    In Mexico, [such meetings were held] with Karen Tandy, former DEA Administrator,
    and former Secretary of State Hilary Clinton, which is something I treasure in my
    heart.

    Proof of this respect for Genaro’s professional track record were all the awards given
    by the governments of the United States, Mexico, Colombia and Spain in recognition
    of a whole life devoted to fighting criminals and terrorists.

    In addition, given the great trust placed by the United States in Genaro, millions of
    U.S. taxpayers’ dollars were handed to the Federal Secretariat of Public Security,
    under Genaro García Luna’s command, for the fight against transnational drug
    trafficking and terrorism.

    Since life granted me the privilege in 2003 of meeting Genaro, he has been my
    mentor, my boss and my friend. I worked with him until the day of his arrest on
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    December 9, 2019, and I know for a fact that he is a decent, honest and professional
    man, who is extremely demanding of himself and others; he is a true feminist, a
    loving father and husband, a loyal and supportive friend. By reason of the foregoing,
    I beg you to be lenient at the time of imposing your sentence.

    As you know, there is not a single piece of documentary evidence, photograph, e-
    mail or a single illegal dollar showing that Genaro is corrupt. There is no evidence of
    that because it does not exist. Only the statement of witnesses who lied to get
    benefits or who were out for revenge. I believe in Justice and that the justice of the
    U.S. legal system shall prevail for a man who contributed so much to the United
    States in the fight against terrorists and drug dealers operating globally.

    Honorable Judge, at sentencing, I ask you to take into account that Genaro devoted
    25 years to fighting criminals and terrorists operating globally, he saved the lives of
    over 2,000 kidnapping victims. His professional track record was so outstanding that
    he received an E-type visa in recognition of merit.

    Even in prison the spirit of service to others remains alive in Genaro. I had the chance
    of visiting with him last March and July, and he was very committed to teaching math,
    physics and chemistry to other inmates for academic accreditation degrees, thus
    allowing them to lead better lives.



    Respectfully,

    _______________

    Olivia Lizeth Parra Salazar, Esq.

    Former federal Assistant Secretary of Public Security
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                                                                           CDMX a 28 de agosto de 2024

    A quien corresponda:

    Por medio de la presente yo Gerson Enrico Pereyra Gálvez redacto esta carta para los fines que así
    convengan.

    La preocupación de mis padres era que mi hermana se casara con un hombre de buenos
    sentimientos con buenos valores recuerdo a mi mamá en especial orando a Dios por ese hombre.

    Mi hermana al poco tiempo empezó a salir con Genaro al parecer fueron escuchas las oraciones de
    mi mamá,

    Conozco a Genaro más hace 30 años lo recuerdo como un joven trabajador y estudiante sin vicios,
    atento y respetuoso un ejemplo a seguir eso fue lo que vi en él.

    A veces nos veíamos los fines de semana o en vacaciones recuerdo las pláticas siempre me
    motivaban a ser mejor persona a superarme a ser respetuoso con los demás.

    A los dos años me casé y al siguen año se casó Genaro con mi hermana yo tuve tres hijos y Genaro
    con mi hermana tuvieron dos hijos y ya convivíamos más por los cumpleaños de los hijos y me daba
    cuenta como era ese matrimonio de respeto mutuo y amor hacia los hijos como lo dije antes un
    ejemplo a seguir y ahora como familia.

    Recuerdo cada que teníamos la oportunidad de convivir en los cumpleaños siempre recibía un
    concejo de Genaro para poder mejorar en mi trabajo y con mi familia.

    Y esos consejos de vida los compartía con toda la familia tanto de parte de él como la de mi hermana
    él quería ayudar a toda la familia a que fuéramos mejores hijos, esposos, padres dentro de nuestros
    hogares y también en la sociedad

    Me di cuenta que Genaro tenía una visión más allá de su propia familia quería ayudar a la sociedad
    a su país pero en el 2008 sucedió algo que cambio aún más nuestras vidas aunque lo veíamos como
    algo difícil y oscuro, mi hermana cristina se enfermó de sus riñones fue algo tan repentino que en
    pocos meses ya la estaban dializando y la única solución era un trasplante yo al ver esa situación tan
    difícil en la familia de Genaro y mi hermana cristina reflexione en todo lo que habían influenciado
    en mi vida para ser mejor como persona y la gratitud que yo tenía hacia ellos y pensé es ahora como
    yo pudo pagarles algo de lo que ellos me han dado como su cariño su apoyo moral y como lo
    mencione antes no solo a su familia sino también a la sociedad y fue cuando decidí ofrecerme como
    donador fui a consulta con el medico nefrólogo que estaba tratando a mi hermana cristina y me dijo
    que no era tan fácil tenía que hacerme estudios para ver cómo estaba de salud porque si estaba
    enfermo de algo o salía mal en mis estudios no podría donar el riñón y me dijo que el fin no era
    solucionar un problema y causar otro entonces empecé a hacerme los estudios y eso tomo como
    dos meses porque fueron muchos estudios y papeleo y cuando llegue con el nefrólogo para que
    revisara mis estudios me dijo que si podía donar entonces nos dieron fecha para el trasplante y llego
    ese día recuerdo que nos internamos en el hospital en la noche y la operación estaba programada
    para el siguiente día muy temprano recuero esa noche no pude dormir estuve orando a Dios
    pidiéndole que todo saliera bien por la mañana fueron por mi para llevarme a la sala de operación
    y antes de entrar a la sala de operaciones me pusieron a un lado de mi hermana y pudimos platicar
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    un momento y la plática era sobre Genaro que era un buen esposo y padre para sus hijos y le dije
    que él era un ejemplo a seguir para mí que era una persona importante en mi vida así como tú
    hermanita le expresé.

    Después que salimos de la cirugía el médico cirujano me dijo que todo había salido bien y que venía
    lo más importante de un trasplante seguir muy bien las recomendaciones y cuidados del riñón creo
    que fue una enseñanza muy importante en nuestras vidas la importancia de compartir,

    Mi hermana se recuperó rápido y en una ocasión que nos invitó a la fiesta de su hija fuimos juntos a
    comprar cosas para la fiesta y al salir de una tienda comercial unos niños se le acercaron a Genaro y
    a mi hermana y los niños vendían dulces Genaro les dio dinero y también unos juguetes que les
    había comprado a sus hijos los niños se fueron muy felices y pensé que tan importante es el
    compartir y no tan solo vida hasta un simple juguete puede hacer feliz a un niño eso siempre fue y
    ha sido el sello de Genaro por eso fue uno de mis motivos para dar y compartir vida a una familia
    tan dadivosa y amorosa.

    En otra ocasión en unas vacaciones fuimos a comer unos tacos mi familia y Genaro y mi hermana y
    sus hijos en un puesto en la calle de esos clásicos en la ciudad de México donde comes parado y al
    pedir la cuenta Genaro dice yo pago y le dan la cuenta y al revisarla se da cuenta que le estaban
    cobrando de menos y le dice al que nos atendió que su cuenta estaba mal que nos estaba cobrando
    de menos y al revisarla el encargado le dio gracias a Genaro por su honestidad,

    Y así podría contar muchas historias que viví con ellos siempre dándonos ejemplos buenos,

    Por eso puedo decir de Genaro que él es una persona honesta, amorosa, compartida y bondadosa

    Para mí Genaro es una persona a la cual le tengo un profundo Respeto y admiración

    Los fines de año que nos reuníamos al final siempre cada uno de los presentes dábamos gracias por
    lo que vivíamos en el transcurso del año.

    recuerdo en especial un año ya los hijos eran adolescentes y me tocó el turno de dar gracias y me
    puse en pie y agradecí a Genaro y a mi hermana Cristina por sus concejos de vida para yo poder
    educar a mis hijos de la mejor manera.

    Ahora que están pasando por un tiempo difícil Genaro sigue siendo un ejemplo de vida para mí y
    mis hijos ahí donde se encuentra él se ha certificado como maestro y ha ayudado a muchas personas
    a terminar sus estudios y una vez más demuestra lo que él es en la sociedad donde se encuentre un
    ejemplo a seguir ayudando y compartiendo a otros estoy seguro que el sigue dando esos consejos
    de vida a otras personas para ser mejores personas eso me sigue motivando a mi para seguir
    ayudando a otras personas a que puedan salir adelante en una sociedad tan llena de egoísmo y
    maldad.

    Es por estos motivos que solicito un trato indulgente para GENARO GARCIA LUNA en la sentencia,

    Por que el encarcelamiento prolongado no es necesario para disuadir a Genaro de futuras conductas
    delictivas.

    Gracias Genaro por ser esa persona de convicciones firmes y buenos valores espero vernos pronto
    te mando un abraso de parte de toda mi familia atentamente: GERSON ENRICO PREYRA GALVEZ.
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                                                 TRANSLATION

                                                                                  Mexico City, August 28, 2024

    To whom it may concern:

    I, Gerson Enrico Pereyra Gálvez, hereby draft this letter for all applicable purposes.

    My parents’ concern was that my sister should marry a man with good feelings and good values. I
    particularly remember my mother praying to God for that man to come along.

    Shortly thereafter, my sister began to date Genaro; apparently, my mother’s prayers were heard.

    I have known Genaro for over 30 years; I remember him as a hard-working young man, a student with no
    addictions, caring and respectful, an example to be followed. That is what I saw in him.

    Sometimes we would meet on weekends or while on vacation. I remember the discussions with him, which
    always inspired me to be a better human being, to succeed and to be respectful towards other people.

    I got married two years later and Genaro married my sister the following year. I had three children, and
    Genaro and my sister had two children. Then we would see each other more often because of the
    children’s birthdays, and I could see what that marriage was like, a marriage of mutual respect and love
    for the children. As I said earlier, an example to be followed now as a family.

    I remember that each time we had the chance to get together for birthdays I would always get a piece of
    advice from Genaro intended for me to be able to get better at my work and with my family.

    And he would share that advice about living with the whole family, both his and my sister’s. He wanted to
    help the whole family to be better sons and daughters, spouses, parents in our homes and also better in
    society.

    I realized that Genaro had a vision beyond his own family, he wanted to be of help to society in his country.
    But something happened in 2008 which greatly changed our lives, which we looked at as something difficult
    and dark: my sister Cristina developed a kidney disease. This came so suddenly that within a few months
    she was undergoing dialysis and the only solution was a transplant. When I saw that difficult situation
    amidst the family of Genaro and my sister Cristina I thought about all the influence they had brought to
    bear on my life to be a better person and the appreciation I felt for them, and so I thought that it was then
    that I could pay them back in a small measure for what they had given me with their love and moral support
    which, as I mentioned earlier, was not only provided to his family but also to society. And it was then that
    I decided to volunteer as a donor. I went to see the kidney specialist who was treating my sister Cristina,
    who told me it was not so easy. Tests had to be run to check on my health because if I suffered from some
    condition or some tests did not yield the expected results I would not be able to donate my kidney. The
    doctor told me that the end was not to solve a problem and to cause another. Thus, tests were run, which
    took about two months given that there were many tests to be run and there was a lot of paperwork
    involved, and when I went to see the doctor he told me I could be a donor. Then we were given a date for
    the transplant and that day came . I remember we were admitted to the hospital in the evening and
    surgery was scheduled for very early the next day. I remember I was not able to sleep that night praying to
    God that everything would work out. In the morning , they came to take me to the OR and placed me
    beside my sister, so we were able to talk for a moment. The conversation was
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    about Genaro, who was a good husband and father to their children, and I told her he was an example to
    be followed, that he was a very important person in my life, as well as she, my little sister. After we came
    out of surgery the surgeon told me everything had turned out all right and that the most important thing
    after a transplant was ahead of us: to carefully adhere to the recommendations and to care for the
    kidneys. I think the importance of sharing was a very important lesson in our lives.

    My sister quickly recovered. On one occasion, she invited us to a party for her daughter. We went out
    together to buy stuff for the party and, when leaving a store, some kids approached Genaro and my sister.
    The children were selling sweets and Genaro gave them money and also some toys he had purchased for
    his own children. The children went away very happy, and I thought how important it was to share in life,
    a mere toy could render a child happy. That is and has always been Genaro’s hallmark, and that was one
    of the reasons that inspired me to give to and share my life with such a generous and loving family.

    On another occasion while on vacation with my family, Genaro, my sister and their children went to eat
    some tacos at one of those classic street stands in Mexico City, where one eats standing up. When we
    asked for the check Genaro said he would pay . When he checked the bill he noticed he was being
    charged less, so he told the person who had waited on us that the bill was wrong. The person in charge
    thanked Genaro for his honesty.

    Thus, I could tell many similar stories that I experienced with them, always setting a good example.

    That is why I can say Genaro is an honest, loving, sharing and generous individual. As far as I am concerned,
    Genaro is an individual for whom I feel deep respect and admiration.


    When we would get together for New Year’s Eve, those in attendance would always give thanks for our
    experiences throughout the year. I particularly remember a year when the children were already in their
    teens; my turn came, I stood up and thanked Genaro and my sister Cristina for their advice about living so
    I would be better able to raise my children.

    Now that they are going through hard times Genaro continues to be an example of life for me and my
    children; he has gotten his certificate as a teacher where he currently is and has helped many people finish
    their education. Once again, he demonstrates what he is in society, no matter where he happens to be: an
    example to be followed, a person who shares with others. I am sure he is still giving that advice about
    living to other people to be better persons. That still inspires me to continue to help other people to get
    ahead in a society so fraught with selfishness and wickedness.


    For these reasons, I request that you deal leniently with GENARO GARCIA LUNA at sentencing. Because
    protracted imprisonment is not necessary to deter Genaro from criminal conducts in future.

    Thank you, Genaro, for being that person of firm convictions and good values. I look forward to meeting
    you soon. I send you a hug from my whole family. Very truly yours, GERSON ENRICO PEREYRA
    GALVEZ.
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  Agosto 22 de 2024




  El Honorable Brian M. Cogan
  Juez de Distrito de los Estados Unidos Palacio de Justicia de
  los Estados Unidos Distrito Este de Nueva York
  225 Cadman Plaza Este
  Brooklyn, Nueva York 11201


  Me dirijo a usted con todo respeto para expresar mi más sincero e
  incondicional apoyo a el Señor Genaro García Luna, a quien tengo
  el honor de conocer desde hace aproximadamente 12 años.
  Durante este tiempo, he tenido el privilegio de observar de cerca
  su ejemplar desempeño en múltiples facetas de su vida, y puedo
  decir sin lugar a duda que es una de las personas más admirables y
  respetables que he conocido.
  Como padre, el señor Genaro García Luna, demuestra un
  compromiso y dedicación que son verdaderamente inspiradores.
  Su habilidad para equilibrar el amor, la disciplina y el apoyo
  incondicional hacia sus hijos es admirable.
  He sido testigo de cómo ha fomentado un entorno familiar lleno de
  amor, respeto y crecimiento, y estoy convencida de que su
  influencia positiva y su guía sólida han tenido un impacto profundo
  en la vida de sus hijos.
  En su rol como amigo, el señor Genaro García Luna, es un pilar de
  confianza y apoyo.
  Su lealtad, generosidad y capacidad para escuchar son cualidades
  que lo distinguen y lo convierten en una fuente constante de
  inspiración y aliento para quienes lo rodeamos.
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  Recuerdo especialmente la primera oportunidad que tuvimos de
  compartir en la celebración de cumpleaños de su hija Luna, ellos
  estaban recién reubicándose aquí en la ciudad de Miami, tuve el
  privilegio de ser invitada junto a mi familia, espere encontrar un
  suntuoso festejo desbordante de lujos e invitados de alta sociedad,
  con lujos en exageración y derroche en todo sentido; Con gran
  sorpresa fue una de las reuniones mas amenas, edificantes y
  agradables a las que he asistido, los invitados eran personas
  sencillas, muchos de sus colaboradores en su negocio de
  restaurante, cocineros, personal de servicio en general, una
  celebración sencilla, llena de personas que expresaban su
  admiración y respeto por ser tratadas con dignidad y afecto, por
  todos los miembros de la familia, donde lo más importante era
  compartir.

  Su calidad humana es admirable, un gran ejemplo a seguir, siempre
  afectuoso, dispuesto a ofrecer una mano amiga, su empatía,
  comprensión y generosidad son invaluables.

  Como esposo, el Señor Genaro García Luna, es un ejemplo de
  compañerismo y respeto. Su relación con la Señora Cristina
  Pereyra es un testimonio de su compromiso, amor y la capacidad
  de construir una vida juntos con integridad y apoyo mutuo. Su
  habilidad para mantener una relación saludable y armoniosa es
  algo que muchos aspiran a emular.
  Agradezco inmensamente la oportunidad que he tenido de
  compartir con ellos como familia y conocerlos en diferentes etapas.
  En el ámbito profesional, el señor Genaro García Luna, se ha
  destacado como un individuo brillante e inteligente. Su ética de
  trabajo, honestidad y transparencia son cualidades que reflejan su
  carácter y compromiso hacia la excelencia, siempre he admirado
  que el propósito principal de su brillantez, inteligencia y sabiduría
  es buscar aportar a la sociedad en general de manera positiva.
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  Su capacidad para emprender con éxito proyectos y colaborar de
  manera efectiva con otros demuestra su dedicación y habilidad en
  su campo.
  Es un profesional que no solo se enfoca en sus propios objetivos,
  sino que también se preocupa genuinamente por el bienestar y el
  éxito de quienes lo rodean.
  En resumen, el señor Genaro García Luna, es una persona de
  carácter impecable, honestidad inquebrantable y una profunda
  preocupación por los demás. Su inteligencia, emprendedorismo y
  compromiso en todos los aspectos de su vida son cualidades que lo
  convierten en un individuo sobresaliente y digno de admiración.
  No tengo dudas de que cualquier persona o entidad que tenga el
  placer de trabajar con él, o de contar con su amistad, será ́
  enormemente beneficiada.


  Si requiere más información o desea discutir con mayor
  profundidad mis observaciones, no dude en contactarme a mi
  número de teléfono directo,                  o al correo
  electrónico

  Atentamente,

  Monica E Sarmiento
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                                    TRANSLATION



  August 22, 2024 530, 670


  Honorable Brian M. Cogan
  United States District Judge
  United States Courthouse
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201


  I address you with all due respect to express my most sincere and
  unconditional support to Mr. Genaro García Luna, whom I have the honor to
  know for approximately 12 years. During this time, I have had the privilege to
  observe up close his exemplary performance in multiple aspects of his life, and
  I can say without doubt that he is one of the most admirable and respectable
  individuals I have known.

  As a father, Mr. Genaro García Luna has shown a commitment and dedication
  that are truly inspiring. His ability to balance love, discipline and unconditional
  support to his children is admirable.

  I have witnessed how he has fostered a family environment full of love, respect
  and growth, and I am convinced that his positive influence and his sound
  guidance had a deep impact on the lives of his children.

  In his role as a friend, Mr. Genaro García Luna is a pillar of trust and support.
  His loyalty, generosity and ability to listen are attributes that set him apart,
  making him a constant source of inspiration and encouragement to those of us
  around him.

  I particularly remember the first chance we had to spend time together during
  the birthday celebration of his daughter Luna. They were just relocating here to
  Miami, and I had the privilege of being invited with my family; I expected to find
  a sumptuous celebration, overflowing with luxuries and high-society guests,
  with hyped treats and excesses in every sense. To my great surprise, it was one
  of the most agreeable, edifying and pleasant gatherings I have been to. The
  guests were simple individuals, many of them his associates in his restaurant
  business, cooks, service staff in general. It was an unaffected celebration, full of
  people who expressed their admiration and respect for being treated with
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  dignity and affection by all family members, where the most important thing
  was to share.

  His human quality is admirable. He is a great example to be followed, always
  affectionate, willing to offer a friendly hand; his empathy, understanding and
  generosity are priceless.

  As a husband, Mr. Genaro García Luna is an example of partnership and
  respect. His relationship with Mrs. Cristina Pereyra is a testimony to his
  commitment, love and the ability to build a life together with integrity and
  mutual support. His ability to maintain a healthy, harmonious relationship is
  something many people strive to emulate.

  I am immensely grateful for the opportunity I have had to share with them as a
  family and to get to know them at various stages.

  Professionally, Mr. Genaro García Luna has stood out as a brilliant and
  intelligent individual. His work ethic, honesty and transparency reflect his
  character and commitment to excellence. I have always admired that the main
  purpose of his brilliancy, intelligence and wisdom is to contribute to society in
  general in a positive way.

  His ability to successfully undertake projects and to efficiently cooperate with
  others demonstrate his commitment and ability in his field.

  He is a professional who not only focuses on his own objectives but who also
  genuinely cares about the welfare and success of those around him.

  In sum, Mr. Genaro García Luna is an individual with an impeccable character,
  unflinching honesty and a deep concern for other people. His intelligence,
  entrepreneurship and commitment in all aspects of his life are qualities that
  render him an outstanding individual who is worthy of admiration.

  I have no doubt that any individual or institution having the pleasure of working
  with him or having him as a friend shall hugely benefit from it.

  Should you require any further information, or if you should wish to discuss my
  remarks in further detail, do not hesitate to contact me at my direct telephone
  number,                       or via email,



  Yours very truly,

  Monica E. Sarmiento
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    H. JUEZ DE DISTRITO DE LOS ESTADOS UNIDOS BRIAN M. COGAN, CON RESIDENCIA EN EL
    PALACIO DE JUSTICIA DE LOS ESTADOS UNIDOS EN EL DISTRITO ESTE DE NUEVA YORK, CON
    DIRECCIÓN EN 225 CADMAN PLAZA ESTE BROOKLYN, NUEVA YORK, C.P. 11201

    P R E S E N T E:

    Me permito dirigirme a usted con el más profundo respeto y consideración, deseándole éxito en el
    cumplimiento de sus nobles e importantes funciones.



    Mi nombre es Rebeca Garcia Andrew, tengo 46 años y soy sobrina de Genaro Garcia Luna.

    La razón por la cual me atrevo a escribirle es para ofrecerle una humilde pero sincera reflexión sobre
    la persona que he conocido durante toda mi vida.



    Si bien mi relación con Genaro en los primeros años de mi vida fue esporádica, mi primer recuerdo
    significativo de él surge en su boda, cuando tenía entre 14 y 15 años. Aquel fue un día memorable,
    no solo por la celebración en sí misma, sino por la calidez, la gentileza y el sincero aprecio que
    Genaro mostró hacia cada uno de los asistentes. Este evento marcó el inicio de mi verdadera
    comprensión del hombre íntegro y devoto que él es.



    Con el transcurso del tiempo, pude observar en él un ser humano profundamente comprometido
    con los valores familiares y sociales. Genaro ha sido un hijo ejemplar, un hermano protector y un tío
    siempre dispuesto a ofrecer un consejo sabio y desinteresado. A pesar de la naturaleza absorbente
    de sus responsabilidades profesionales, siempre demostró una notable sencillez y educación,
    virtudes que, como es de su conocimiento en México no son comunes entre quienes ocupan altos
    cargos en la administración pública.



    En su ascenso profesional, particularmente como titular de la Agencia Federal de Investigación y
    luego como Secretario de Seguridad Pública, Genaro se condujo con un inquebrantable compromiso
    con la seguridad y el bienestar de México. Sus logros, que son vastos y reconocidos tanto a nivel
    nacional como internacional, se alzan como un testimonio de su dedicación incansable y de su amor
    por la patria.



    Recuerdo vívidamente una conversación que tuve con un amigo de mi esposo, quien compartió
    aulas con Genaro durante su formación en la Universidad Autónoma Metropolitana. Este amigo me
    relató con admiración la empatía y el apoyo incondicional que Genaro brindaba a sus compañeros,
    así como su genuino deseo de contribuir a la seguridad del país. Estos relatos confirman mi
    percepción de él como un hombre de firmes convicciones y un profundo sentido del deber.
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    Genaro ha dejado un legado que perdura, siendo la creación de la Plataforma México uno de sus
    mayores logros en la lucha contra el crimen organizado. Esta iniciativa, entre muchas otras, refleja
    su inquebrantable compromiso con la construcción de un México más seguro y próspero.

    Genaro siempre ha sido un hombre que enseñaba a los demás, los principios de legalidad, lealtad,
    honradez, ética y disciplina, en eso siempre fue un mentor y por eso siempre ha sido una persona
    íntegra, con sus principios y su forma de participar en la vida.



    Es un hombre que se comprometió con México, recuerdo que al ir a visitarlo a su oficina, llamaba a
    mi atención, todas las oficinas de seguridad de los Estados Unidos que estaban junto a la suya,
    hombre convencido en colaborar con los norteamericanos, fue condecorado por varias agencias
    estadounidenses y se veía que colaboraban juntos con muchos logros en común, es una persona
    que admira a USA, tan es así que al terminar su gestión, se fue a residir a Miami, nunca imaginó
    seguramente, por lo que iba a tener que pasar en el territorio de sus amigos, ese gran territorio
    (land of the free, home of the brave).



    Quisiera contarle a mi edad me tocó vivir ciertas etapas de mi país, vivíamos diferente, podíamos
    salir a caminar, andar en bici, en pocas palabras, podíamos ser libres, conforme fueron pasando los
    años México empezó a ser diferente, la inseguridad empezó a desbordarse y la vida de nosotros los
    ciudadanos, cambió radicalmente y las instituciones de seguridad fueron abandonadas y se
    convirtieron en una basura.



    Genaro García, tuvo la grandiosa oportunidad de pertenecer en la institución del Centro de
    Investigación y Seguridad Nacional (especie de CIA y FBI), en dónde empezaba su carrera en
    seguridad pública y le trajo gran experiencia, pero un día llegó el momento que el presidente de la
    república (Felipe Calderón Hinojosa), le llama y le pide que haga una de las tareas más difíciles del
    momento, crear nuevas instituciones de seguridad y vanguardia a nivel mundial, pero aunado a eso,
    la tarea de combatir al crimen, es decir de manera simultánea, crear nuevas instituciones y tener
    que enfrentar al crimen organizado, ya que el país presentaba un problema muy serio, en la
    seguridad interna, su profesión como ingeniero, le permitió crear nuevas agencias de seguridad, que
    fueron ejemplo a nivel mundial, hoy en día su creación es exactamente la misma que han venido
    usando todos estos años, desde que se retiró, lo extrañamos mucho como familia, pero su ausencia
    la resentimos como ciudadanos, mi país en este momento, está pasando por la crisis más grande de
    inseguridad de la que se tenga memoria, hay un descontrol total del crimen organizado y han
    ganado terreno al gobierno, situación que menciono, porque Genaro había podido lograr poner
    orden y lograr resultados en materia de seguridad y los ciudadanos lo percibíamos, ahora es todo lo
    contrario, estos logros fueron elogiados y reconocidos por el mismo país, que hoy en día lo acusa.
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    En México al escucharse la noticia de la detención, todos los actores políticos y ciudadanos, dieron
    la espalda y aprovecharon el momento electoral para usar su nombre, sin aún estar sentenciado, lo
    que hemos pasado aquí, por el desprestigio y el uso desmesurado de opiniones, sin conocer de
    fondo y sin que aún haya sido sentenciado, ha sido la peor de las pesadillas para todos nosotros, de
    las que quisiéramos despertar y decir, just a bad dream, se le ha destruido su vida, personal,
    profesional y lo peor y más indignante para él es perder su reputación y dignidad, no sólo la de él,
    la de sus hijos, esposa y su familia

    No tengo interés más allá en esta carta más que poder transmitir a su honorable señoría, sobre
    quien es la persona que conocí durante todo estos años, lo extrañamos como nunca y sabemos muy
    bien la clase de hombre íntegro, decente y de un gran corazón, recuerdo que de él dependían
    también las cárceles de Máxima Seguridad y el velaba por una reinserción social adecuada y sobre
    todo humana, también fue galardonado por haber integrado un plan de educación pública, para
    todos los reos y estos pudieran superarse y ser mejores personas.



    Es mi sincera esperanza que mis palabras, humildemente expresadas en esta carta, puedan servir
    como un pequeño reflejo del carácter y la integridad de Genaro Garcia Luna. Agradezco
    profundamente su atención y el valioso tiempo que ha dedicado a leer estas líneas.

    Dios lo bendiga y bendiga a los Estados Unidos de Norte América.

    Rebeca Garcia Andrew.
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    He is a man who was committed to Mexico. I remember that when I would go visit him at this office I was
    struck by the fact that all U.S. security offices were next to his; he was a man convinced of cooperating
    with the Americans, who was decorated by several U.S. agencies; you could see that they jointly
    cooperated and had many common achievements. He is an admirer of the U.S.A., so much so that at the
    end of his tenure he moved to Miami to reside there. He certainly never imagined what he would have to
    go through in the land of his friends, that great land (land of the free, home of the brave).

    I would like to tell you that at my age I have had to live through certain stages in my country. We used to
    live differently, we could go out for a walk, take a bike ride; in a few words, we could be free. As the years
    went by, Mexico became a different country: the lack of security began to get out of control and the lives
    of us, the citizens, radically changed. The security institutions were abandoned and turned into garbage.

    Genaro García had the great opportunity of being a member of the Center of Investigation and National
    Security (a sort of CIA and FBI) at the outset of his career in public security, and he gained a great deal of
    experience. But the time came one day when the President of the Republic (Felipe Calderón Hinojosa)
    gave him a call and asked him to undertake one of the most difficult tasks at the time: to create new and
    state-of-the-arts security institutions worldwide and, added to this, the task of fighting crime; that is, to
    simultaneously create new institutions and to face organized crime, as the country had a very serious
    problem regarding its internal security. As an engineer by profession, he was able to create new security
    agencies that became a worldwide example; today, they are exactly the same in their design and have
    been used that way all these years since he retired. As a family, we miss him greatly, but we feel his
    absence as citizens. Right now, my country is going through the greatest lack of security crisis in living
    memory; there is an absolute lack of control due to organized crime, which has gained ground vis-à-vis
    .the government. I mention this situation because Genaro had managed to bring order and achieve results
    in the area of security, which we noticed as citizens. Now it is all the contrary. These achievements were
    praised and recognized by the same country accusing him today.

    When news of his arrest reached Mexico, all political actors and citizens turned their backs and took
    advantage of the upcoming election to use his name, even though he had not yet been convicted. What
    we have gone through here on account of the disparagement and the excessive uttering of opinions,
    without having in-depth knowledge and with him not yet having been sentenced, has been the worst
    nightmare for all us, from which we would like to awake and say, it was just a bad dream. His life, both
    personal and professional, has been destroyed, and the worst and most infuriating thing for him is having
    forfeited his reputation and dignity – not only his, but that of his children, wife and family.

    I have no other interest with this letter than to be able to convey to Your Honor who the person is that I
    knew during all these years. We miss him like never before and we know quite well the kind of upright,
    decent man that he is, with a great heart. I also remember that maximum security prisons were also under
    his control, and he would see to an adequate social reintegration – particularly a humane one. He was
    also awarded a prize for having included a public education scheme for all convicted felons towards their
    self-improvement and becoming better human beings.
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    It is my sincere hope that my words, humbly stated in this letter, may serve as a small reflection on Genaro
    García Luna’s character and integrity. I deeply appreciate your attention and the valuable time devoted by
    you to reading these lines.

    May God bless you and bless the United States of North America.




    Rebeca García Andrew
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  If you require more information or would like to discuss my observations in greater depth, please
  do not hesitate to contact me at my direct phone number,                    , or via email at


  Thank you for considering my letter and considering the positive impact Genaro has had on so
  many lives. I trust that you will find him deserving of mercy and compassion.

  Sincerely,
  Ivan Ramirez
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                                                    Guadalajara, Jalisco, México a 30 de agosto de 2024

    El Honorable Juez
    Brian M. Cogan
    Juez de Distrito de los Estados Unidos
    Palacio de Justicia de los Estados Unidos


            Apreciable Juez Cogan, reciba un cordial saludo y me dirijo hacia Usted en estas líneas para
    poner a su consideración respecto a la sentencia que dictará al señor Genaro García Luna, que me
    une un lazo consanguíneo, ya que es el hermano menor de mi difunto padre, Felipe García Luna, mi
    nombre es Adrián García Padilla, mexicano y tengo 47 años.

            Señoría, le comento que desde que tengo uso de razón, he estado muy cercano a Genaro
    (nunca le dije tío por la poca edad que me lleva), siempre ha sido un ser humano preocupado por
    su familia, a quienes nos apoyó en una o varias etapas de nuestras vidas e incluso sin solicitarlo, ya
    que para él, su prioridad era que su familia estuviera bien, recuerdo las convivencias los domingos
    en la casa de mis abuelos, en los que todos nos sentábamos alrededor de la mesa a degustar la
    comida que nos gustaba y a platicar, Genaro siempre bromeaba y se percibía alegre, gustoso de
    tener a su familia a su lado.

           Hablar de Genaro es simplemente decir que es un mexicano que siempre antepuso a México
    sobretodo, que tenía un alto estándar de valores y moral que incluso nos exigía a nosotros desde
    que éramos niños; recuerdo una anécdota de esa época en la que habré tenido 8 o 9 años de edad,
    que nos visitó al estado de Sonora y mi padre, patrocinaba un equipo de soccer y durante su visita,
    Genaro se ofreció a ser nuestro entrenador y recuerdo que antes de cada partido nos reunía y nos
    decía que siempre diéramos nuestro máximo esfuerzo, que jugáramos limpio y ayudáramos a los
    demás compañeros para trabajar en equipo con el fin de obtener el mejor resultado, recuerdo de la
    pasión que tenía por entregar todo, regresaba sin voz de cada juego de la pasión, entrega y
    compromiso que le imprimía a su rol como entrenador y que, sin temor a equivocarme, le puso a
    cada uno de los puestos que tuvo como servidor público en nuestro país.

            Honorable Juez Cogan, conozco a mi tío y le puedo decir que es una persona que siempre
    trabajó por el bien de nuestro país, que siempre tuvo en mente que nos fuera bien a todos, que
    desde sus padres, mis abuelos, nos enseñaron e inculcaron que el esfuerzo, preparación y trabajo
    honesto, son la directriz por la cual debíamos salir adelante en la vida.

            Recuerdo que Genaro, escuchaba una canción que, desde mi punto de vista, la consideraba
    su segundo himno, fue compuesta por un cantautor español de nombre León Gieco, le comparto la
    letra de esa melodía que casi siempre que te subías a su auto, la estaba escuchando:


    “Solo le pido a Dios
    Que el dolor no me sea indiferente
    Que la reseca muerte no me encuentre
    Vacío y solo sin haber hecho lo suficiente
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    Solo le pido a Dios
    Que lo injusto no me sea indiferente
    Que no me abofeteen la otra mejilla
    Después que una garra me arañó esta suerte

    Solo le pido a Dios
    Que la guerra no me sea indiferente
    Es un monstruo grande y pisa fuerte
    Toda la pobre inocencia de la gente
    Es un monstruo grande y pisa fuerte
    Toda la pobre inocencia de la gente

    Solo le pido a Dios
    Que el engaño no me sea indiferente
    Si un traidor puede más que unos cuantos
    Que esos cuantos no lo olviden fácilmente

    Solo le pido a Dios
    Que el futuro no me sea indiferente
    Desahuciado está el que tiene que marchar
    A vivir una cultura diferente

    Solo le pido a Dios
    Que la guerra no me sea indiferente
    Es un monstruo grande y pisa fuerte
    Toda la pobre inocencia de la gente
    Es un monstruo grande y pisa fuerte
    Toda la pobre inocencia de la gente”.

             Honorable Juez Cogan, considero que Genaro, le pido encarecidamente que considere mis
    palabras al juzgar a mi tío, que es un mexicano que sirvió a nuestro país de manera íntegra y honesta,
    que jamás se burlaría de la ley (de su país o del nuestro) y que siempre nos inculcó con el ejemplo,
    de hecho, de esa época que fue nuestro entrenador de soccer, yo cometí un error y agarré la pelota
    de soccer que había entrado en la portería contraria y con ello ganáramos el juego, pero dependía
    de que yo dijera la verdad de que si había o no agarrado la pelota, él me dijo, “no importa lo que
    resulte, pero tú siempre tienes que hablar con la verdad” y fue algo que quedó grabado en mí.
             Agradezco la atención bridada a estas líneas que deseo las considere para sentencia que
    dictara a Genaro. Reciba un cordial saludo.

                                             Respetuosamente




                                            Adrián García Padilla
                                          Examinador en Poligrafía
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                                                 TRANSLATION


                                                        Guadalajara, Jalisco, Mexico, August 30, 2024

    Honorable Judge
    Brian M. Cogan
    United States District Judge
    United States Courthouse


            Esteemed Judge Cogan, cordial greetings to you. I am writing these lines to you to submit to
    your consideration the sentence you will impose on Mr. Genaro García Luna, to whom I related by blood,
    as he is the youngest brother of my late father, Felipe García Luna. My name is Adrián García Padilla,
    Mexican, 47 years old.

             Your Honor, as far as I can remember, I have been very close to Genaro (I never called him
    uncle due to the short age difference between us), he has always been an individual concerned for his
    family, who has supported us at one or several stages in our lives, even without requesting it, as his
    priority was for his family to be all right. I remember the times spent together Sundays at my
    grandparents’, when we would always sit around the table to enjoy the food we liked and to talk. Genaro
    was always joking and you could see he was happy, glad to have his family by his side.

             To talk about Genaro is simply to say that he is a Mexican who has always put Mexico above
    everything, who had a high standard of values and morals, who even made demands on us since we
    were kids; I remember an anecdote from that time, when I was maybe eight or nine years old, and he
    visited us in the state of Sonora. My father sponsored a soccer team and, during his visit, Genaro
    volunteered to be our coach. I remember he would gather us before each match and would tell us to
    always give our best effort, to play clean and to help the other team members work as a team to achieve
    the best result. I remember his passion for giving his all, he would come back hoarse from each game
    because of the passion, devotion and commitment in his role as a coach and, I can safely say, he
    infused the same qualities to each of the jobs held by him as a public servant of our country.

             Honorable Judge Cogan, I know my uncle and I can tell you that he is an individual who always
    worked for the good of our country, who was always mindful that we should do all right; his parents -- my
    grandparents -- taught us and instilled in us that effort, preparation and honest work are the guiding
    thread to get ahead in life.

            I remember that Genaro would listen to a song which, in my opinion, was considered by him to
    be his second hymn. It was written by a Spanish singer-songwriter by the name of León Gieco. I am
    sharing with you the lyrics of that song, which he would listen to almost every time you got into his car:

    “I only pray to God                                        "Solo le pido a Dios
    “Not to be indifferent to pain                             Que el dolor no me sea indiferente
    “That harsh death won’t find me                            Que la reseca muerte no me encuentre
    “Empty and lonely not having done enough                   Vacío y solo sin haber hecho lo suficiente
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   El Honorable Brian M. Cogan
   Juez de Distrito de los Estados Unidos
   Palacio de Justicia de los Estados Unidos
   Distrito Este de Nueva York
   225 Cadman Plaza Este
   Brooklyn, Nueva York 11201


   Con todo respeto me dirijo a usted, Sr. Juez, para hacer de su conocimiento mi experiencia
   profesional y, hasta cierto punto, personal con el Ing. Genaro García Luna, con el fin de que la
   sentencia que usted tenga a bien imponerle por los delitos que fue acusado y encontrado
   culpable, sea una justa y acorde a los valores humanos, dentro de la Ley, que la Justicia
   estadounidense ha dado ejemplo en innumerables ocasiones.

   Mi experiencia profesional con él empieza en el período 2010-2012, cuando fui asesor en la
   Coordinación de Asesores del Secretario de Seguridad Pública Federal, cuyo titular era el Ing.
   García Luna.

   Mi responsabilidad durante ese período fue trabajar como enlace, coadyuvante y apoyo a los
   principales proyectos de la Subsecretaria de Planeación y Desarrollo Institucional. Durante
   los 2 años que laboré en la Coordinación de Asesores, mi relación y trato con el Ing. García
   Luna se limitó a uno meramente de carácter profesional e institucional, con pocas
   interacciones directas con él, por la obvia naturaleza jerárquica; pero, siempre apoyó el trabajo
   realizado e incluso, exigía que fuéramos más proactivos y con la visión de que estábamos
   construyendo una institución fundamental para el Estado mexicano y era un proyecto a largo
   plazo, estuviera él o no encabezándolo.

   Posteriormente, en la iniciativa privada (2014), durante un período de seis meses fue mi jefe
   directo; él como Director General y yo como Director de Información y Análisis. En este breve
   período, con un trato más directo y en cierto grado personal, encontré a una persona afable y
   respetuosa, orgullosa de su trayectoria profesional desde que empezó a trabajar en el
   Gobierno de México y hasta donde había llegado, siempre resaltando la importancia de que
   todo era por el bien de México, pero sobre todo de la gente, que merecía vivir en paz y
   protegida por sus autoridades. El proyecto no tuvo la viabilidad financiera requerida, por lo
   cual se nos liquidó a todos los empleados.
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   No omito mencionar que, durante esta etapa, generalmente a él le gustaba reunirse, dos o tres
   veces al mes, con el equipo de trabajo que yo encabezaba para conversar y compartirnos
   experiencias profesionales a fin de motivar y dar sentido de pertenencia a un proyecto, y que
   no éramos solamente empleados.

   Poco más de un año después (2015), el Ing. García Luna me buscó para invitarme a su nuevo
   proyecto, una consultoría propia que estaba en proceso de constitución. Sin embargo, no
   llegamos a ningún acuerdo, ya que el sueldo que él me ofrecía no era atractivo, y él mismo lo
   reconocía, pero me pedía hacer el esfuerzo toda vez que apenas estaba empezando.
   Ofrecimiento que, si bien agradecí, también rechace. Durante las dos reuniones que tuvimos
   para ese fin su comportamiento conmigo fue excepcional y comprensivo. Esa fue la última vez
   que lo vi de manera personal o tuve trato de manera directa con él.

   En suma, Honorable Sr. Juez, hasta donde pude apreciar en el aspecto profesional y personal
   al Ing. García Luna, puedo decir que encontré un funcionario público comprometido con el
   país, orgulloso de ser un funcionario público por más de 20 años y del trabajo de construcción
   institucional que estaba encabezando para México y su seguridad, además de presumir el
   trabajo de cooperación que había logrado edificar con instituciones de Estados Unidos,
   España y Colombia. En el sector privado, a las características antes mencionadas, podría
   agregar dos: una persona afable y atenta, a la vez que a través de sus platicas/enseñanzas
   buscaba potencializar las capacidades de todos los integrantes del equipo.

   Por lo anterior, le reitero con todo el respeto, que tenga a bien a considerar las cualidades
   apreciadas por quien esto escribe a fin de que la sentencia que Usted dictará en fechas
   próximas, sea acorde.

   Sin otro particular, le reitero mi más atenta y distinguida consideración.




   Luis Oliver Navarro
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                                                  TRANSLATION


    Honorable Brian M. Cogan
    United States District Judge
    United States Courthouse
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201


    I respectfully write to you, Your Honor, to bring to your attention my professional experience and, to a

    certain extent, my personal experience with Eng. Genaro García Luna, in order that the sentence you

    may see fit to impose on him for the crimes he was charged with and found guilty be a fair one, in

    accordance with human values, within the law, as the U.S. Justice has set an example on countless

    occasions.

    My professional experience with him began in the 2010-2012 time period, when I worked as an

    advisor at the Coordinating Office of Advisors for the Federal Secretary of Public Security, the

    incumbent of which was Eng. García Luna.

    My duties during that time were to work as a liaison, as an adjunct and to provide support to the main
    projects undertaken by the Office of the Assistant Secretary for Planning and Institutional
    Development. During the two years I worked at the Coordinating Office, my relationship and dealings
    with Eng. García Luna were merely professional and institutional, with a few direct interactions with
    him, given the obvious hierarchy; but he always supported the work carried out and even demanded
    that we should be more proactive and envision that we had set out to build, on a long-term basis, an
    essential institution for the Mexican State, regardless of whether or not he was heading it.


    Subsequently, he was my direct boss for a period of six months during the Private Initiative (2014);

    he worked as Director General and I worked as Director of Information and Analysis. During this brief

    period of time when we had more direct dealings with one another and, to a certain extent, personal, I

    found him to be an affable and respectful individual , who was proud of both his professional track

    record since he began to work for the Government of Mexico and how far he had come, while always

    stressing the importance that everything was for the good of Mexico and, above all, for the people ,

    who deserved to live in peace and protected by their authorities . The project did not meet with the

    required financial viability, that is why all employees were let go.
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    It would be remiss of me not to mention that, during this stage, he liked to meet two or three times a

    month with the working team headed by myself to discuss and to share professional experiences in

    order to motivate and to give a sense of belonging to a project, making us feel that we were not mere

    employees.

    About a year later (2015), Eng. García Luna sought me out to invite me to join his new project, his

    own consulting business, which he was in the process of setting up. However, we did not reach any

    agreement, as the salary he was offering me was not attractive enough, as he himself admitted, but

    he asked me to make an effort as he was just starting. Although I appreciated the offer, I also refused

    it. During the two meetings I had with him for that purpose, his behavior towards me was exceptional

    and understanding. That was the last time I personally saw him or had direct dealings with him.

    In sum, Honorable Judge, as far as I could see I can say that I found Eng. García Luna, both

   professionaly and personally, to be a civil servant committed to the country, proud to be a civil servant

   for over 20 years, as well as proud of heading the institutional-building project intended for Mexico’s

   security, in addition to touting the cooperation he had managed to achieve with institutions in the

   United States, Spain and Colombia. In the private sector, I could add two characteristics to the above-

   mentioned ones: he was an affable and caring individual, while seeking to enhance the abilities of all

   team members through his discussions/teachings.

    By virtue of the above, l respectfully reiterate to please consider the qualities noted by the

    undersigned, so that the sentence you shall impose shortly will be the appropriate one.

    Yours faithfully,




    Luis Oliver Navarro
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      His knowledge in the judicial area, his courage and professionalism made it
      possible for the high command to designate him as AFI’s top chief.


      Because of this, the Colombian Police deemed that alliances should be
      established to achieve efficiency in controlling international crime.

      Subsequently, in my capacity as retired general, I was called by the Mexican
      government to act as advisor, between 2006 and 2012, at Mexico’s Secretariat
      of Public Security, headed by Engineer Genaro Garcia Luna (2006).


      President Felipe Calderón appointed him as head of this office because he had
      been chosen, selected, among several candidates, while considering his
      experience at AFI and other security agencies, where he demonstrated
      honesty, ethics, courage – abilities to run this department or ministry –
      and taking into account that the number of cartels in Mexico particularly
      engaged in drug trafficking was on the rise. As a consequence of the
      above, there was a spike in the number of victims and face-offs among
      gangs.


      The establishment of the Federal Police, the agency in charge of doing
      nothing but fight against organized crime, was one among the exemplary
      strategies adopted by the engineer. He also established a
      comprehensive, preventive strategy to fight against crime.


      The results of these measures can be pointed out in the written, statistical
      records kept by the then authorities, indicating the number of captured
      cartel ringleaders, thus allowing the dismantling of these organizations.


      “””In view of the great results achieved by Mexico’s Secretariat and
      Federal Police, the government of Colombia, through the National
      Police, honored the engineer in Bogota in 2011, by awarding him
      the “”Medal for Merit, in the exceptional category,””” given to him by
      President Juan Manuel Santos.


      To grant the above-mentioned award the government and
      Colombian police took into account, first and foremost, the qualities
      of the honored individual, such as uprightness, ethics, courage,
      experience and proper decision-making aimed at achieving the
      control and dismantling of organized crime.
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      It is proper to point out that the professional and friendly
      relationship, as well as the results in the fight against crime, were
      taken into account by the Mexican government in 2008 by
      designating me as a member of international intelligence experts,
      for a period of three years, in my capacity as foreign, external
      advisor/consultant on issues relating to organized crime trends.


      During that time period I had the honor and the glory to advise
      Engineer Genaro García in his capacity as Chief, Secretariat of
      [Public] Security. I noticed the moral and professional qualities
      possessed by him, which he applied to his daily work regarding
      crime.


      The foregoing was the only reason why the undersigned accepted
      the position of advisor at the Secretariat, because it was in the
      hands of a professional, and it was a pleasure and an honor to
      provide him with advice to carry out his work.


      At the conclusion of working for the government, the engineer
      established a consulting company, a consulting office in the areas of
      security, politics and economy.


      A friendship developed as a result of these professional
      relationships, which allowed the engineer to demonstrate his greater
      human qualities, his uprightness, goodness, generosity, human
      feelings and respect for the opinions of other actors within the
      company.


      The name of the engineer’s company was Glac Security Consulting
      Technology Risk Management. It provided consulting services
      regarding cybercrime control, which included predictive analysis in
      the areas of economics, finances and security.


      Simultaneously, he and the undersigned contributed our knowledge
      and experience acquired in our respective countries to design
      strategies to control international organized crime. Such tasks were
      carried out in 2016 and 2018, [20]19.
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     I am listing some books written by him, as follows:
     Mex Platform, Technology for the New Police Model/Plataforma mex, tecnologia del
     nuevo modelo de policia (2012)
    Social Basis of Organized Crime/Las bases sociales del crimen organizado
    Public Security Indicators in Mx/Indicadores de seguridad publica en Mx
    The Federal Police, a New Institution for Mx/La policia federal, una nueva
   institución para Mx

    A New Model of Police in Mx/Un nuevo modelo de policia en Mx
   Security Atlas and Mexico’s Defense/Atlas de la seguridad y la defensa de Mexico, 2016
  Against Crime, Why are 1661 Police Corporations not Enough?!!! /Contra el crimen
  ¡¡¡por qué 1661 corporaciones de policia no bastan?
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                                                                                   30 de agosto del 2024



    Por medio de la presente me dirijo a usted para expresar mi sentir por la situación del Ing. Genaro
    García Luna tengo de conocerle más de 30 años y conmigo siempre fue muy atento, respetuoso
    nunca fue grosero con las personas que estaban en su alrededor él y toda la familia hemos tenido
    una relación muy sana.

    Todo lo que se refiere a su trabajo siempre lo ha llevado con honestidad y tratando de ayudar a
    todos y a todas que colaboraban con él.

    Persona muy estudiosa y capaz de llevar su trabajo con respeto y honestidad, siempre pensando en
    mejorar el nivel de la policía, con capacitación, estudio, haciéndolo que ejercitaran para que ellos
    estuvieran con un nivel óptimo.

    Esperando que la situación mejore en todos los sentidos.

    Atte. Paola Gálvez (Cuñada)
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                                              TRANSLATION


                                                                                        August 30, 2024



    I hereby write to you to express my feelings regarding Eng. Genaro García Luna’s situation. I
    have known him for over 30 years, and he has always been very caring and respectful towards me.
    He has never been rude towards the people around him, and the whole family has had a very
    healthy relationship with him.

    Everything having to do with his work has been carried out with honesty, while trying to help all
    men and women working with him.

    He is a very well-read individual, capable of performing his work with respect and honesty, while
    always thinking of improving the level of the police through training and study and making them
    work out so they would be at peak level.

    I look forward that the situation will improve in all aspects.

    Vty, Paola Gálvez (Sister-in-law)
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                                                                                   30 de agosto del 2024


    Por medio de la presente me dirijo a usted por la situación y expresar mi admiración y respeto por la
    imagen del ingeniero Genaro García Luna
    Tengo de conocerle 13 años y conmigo siempre fue muy atento, respetuoso nunca fue grosero con
    las personas que estaban cerca del siempre hemos tenido una relación muy sana con toda la familia
    y sus conocidos.
    Siempre que compartimos momentos con él fue excelente y generoso con todos.
    En su vida laboral ha sido muy entregado y profesional con todo lo que se refiere a su trabajo lo ha
    llevado a ser un ejemplo para mí por la disciplina y empeño que mostró en su proceder
    hacia a la gente.
    Atte. D     R        (Sobrino)
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                                            TRANSLATION

                                                                                        August 30, 2024


    I hereby write to you on account of the situation and to express my admiration and respect for the
    image of Eng. Genaro García Luna.
    I have known him for 13 years and he has always been very kind and respectful towards me; he has
    never been rude towards the people around him, we have always had a very healthy relationship
    with the whole family and acquaintances.
    He has been excellent and generous with everyone whenever we have spent time together.
    He has been very committed and professional during his working life in connection with everything
    having to do with his job; his discipline and commitment have been an example to me, as well as
    his conduct towards people.

    Vty, D     R        (Nephew)
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                                                                                 30 de agosto del 2024


    Por medio de la presente, quiero expresar lo que siento respecto a la situación del Ing. Genaro
    García Luna, a quien tengo el privilegio de conocer desde hace 18 años. A lo largo de este tiempo,
    he llegado a admirar su disciplina, responsabilidad y el respeto con el que siempre se dirige a los
    demás. Su dedicación hacia su esposa e hijos es un ejemplo de cómo, pese a las adversidades que la
    vida pueda presentar, él les enseñó que la vida es como una montaña rusa: a veces estás en la cima,
    otras veces abajo, pero nunca debes rendirte, porque no intentarlo puede costar caro en la vida.


    En su ámbito profesional, el Ing. García Luna siempre ha demostrado un profundo compromiso con
    su trabajo, desempeñándolo con disciplina y entregando lo mejor de sí. Además, su colaboración ha
    sido invaluable para facilitar la carga de quienes han trabajado a su lado.


    Es una persona de gran dedicación y compromiso, que ha demostrado ser sumamente estudiosa y
    capaz en el desempeño de su labor. A lo largo de su carrera, ha mantenido un enfoque
    inquebrantable en la mejora continua de la institución policial, siempre actuando con respeto y
    honestidad. Su visión ha sido la de elevar los estándares a través de la formación y el estudio
    constante, asegurándose de que los elementos reciban la capacitación necesaria para alcanzar un
    nivel de excelencia. Además, ha subrayado la importancia de mantener una buena condición física,
    impulsando a los elementos a ejercitarse regularmente para estar en óptimas condiciones y así
    cumplir con sus responsabilidades de manera eficiente y efectiva. Su liderazgo se refleja en su
    compromiso de llevar a la policía a nuevos niveles de profesionalismo y rendimiento.


     Atte. Carlos Ramírez (Sobrino)
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                                            TRANSLATION


                                                                                       August 30, 2024


    I hereby want to express what I feel regarding Eng. Genaro García Luna’s situation, whom I have
    the privilege of knowing for 18 years. Throughout this time, I have come to admire his discipline,
    responsibility and respect with which he addresses people. His devotion to his wife and children is
    an example of how, despite the adversities that life may throw one’s way, he has taught them that
    life is like a roller coaster: sometimes you are up, sometimes you are down, but you must never give
    up, because failure to not try might cost you dearly.


    Professionally, Eng. García Luna has always displayed a deep commitment to his work; he has
    performed with discipline, while always giving the best of himself. In addition, his cooperation has
    been priceless to ease off the burden on those who have worked side-by-side with him.


    He is an individual with a great sense of dedication and commitment, who has proven to be
    extremely well-read and capable in the performance of his work. Throughout his career, he
    maintained an unwavering approach aimed at continuously improving the police force, while
    always acting with respect and honesty. His vision has been one of raising standards through
    training and continuing education, while assuring that members should get the required training to
    reach a level of excellency. In addition, he stressed the importance of keeping in good physical
    condition, while pushing members to regularly work out to be in top shape to thus efficiently and
    effectively discharge their duties. His leadership was reflected in his commitment to leading the
    police to new levels of professionalism and performance.


     Vty, Carlos Ramírez (Nephew)
